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   1                          UNITED STATES BANKRUPTCY COURT

   2                         NORTHERN DISTRICT OF CALIFORNIA

   3                                            -oOo-

   4     In Re:                                  ) Case No. 19-30088
                                                 ) Chapter 11
   5     PG&E CORPORATION AND PACIFIC            )
         GAS AND ELECTRIC COMPANY,               ) San Francisco, California
   6                                             ) Wednesday, December 4, 2019
                             Debtor.             ) 10:00 AM
   7     _____________________________
                                                   DEBTORS' MOTION PURSUANT TO
   8                                               11 U.S.C. SECTIONS 363(B) AND
                                                   105(A) AND FED. R. BANKR. P.
   9                                               6004 AND 9019 FOR ENTRY OF AN
                                                   ORDER (I) AUTHORIZING THE
  10                                               DEBTORS TO ENTER INTO
                                                   RESTRUCTURING SUPPORT
  11                                               AGREEMENT WITH THE CONSENTING
                                                   SUBROGATION CLAIMHOLDERS,
  12                                               (II) APPROVING THE TERMS OF
                                                   SETTLEMENT WITH SUCH
  13                                               CONSENTING SUBROGATION
                                                   CLAIMHOLDERS, INCLUDING THE
  14                                               ALLOWED SUBROGATION AMOUNT,
                                                   AND (III) GRANTING RELATED
  15                                               RELIEF [3992]

  16                            TRANSCRIPT OF PROCEEDINGS
                             BEFORE HONORABLE DENNIS MONTALI
  17                         UNITED STATES BANKRUPTCY JUDGE

  18     APPEARANCES:
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                         PG&E Corp., Pacific Gas & Electric Co.

   1             SAN FRANCISCO, CALIFORNIA, WEDNESDAY, DECEMBER 4, 2019,

   2                                            10:00 AM

   3                                              -oOo-

   4             (Call to order of the Court.)

   5                 THE CLERK:      All rise.       Court is now in session, the

   6     Honorable Dennis Montali presiding.

   7                 THE COURT:      Good morning, everyone.           Welcome back.

   8                 IN UNISON:      Good morning.

   9                 THE CLERK:      Matter of PG&E Corporation.

  10                 THE COURT:      Mr. Karotkin, you've been missing in

  11     action for a while.

  12                 MR. KAROTKIN:       Only one hearing, sir.

  13                 THE COURT:      Well, that's one.         Well, I got a couple of

  14     housekeeping.        You have a --

  15                 MR. KAROTKIN:       No; go ahead.

  16                 THE COURT:      Well, the housekeeping -- two things,

  17     obviously.     Some parties have said, because we have to -- I

  18     have to decide the support-agreement issue today, I can't

  19     decide or can't brief the issue on whether the subrogation

  20     group is impaired or not.              And I agree.    That seems to be an

  21     open issue.     So unless there's some opposition from you, Mr.

  22     Karotkin or the debtor's side, I'll wait until I make a ruling

  23     on today's matter, and then decide whether that moots the

  24     briefing for the legal issue or whether we should just adjust

  25     the deadlines.       That make sense from -- you follow me?                Am I

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   1     confusing you?

   2                MR. KAROTKIN:       I know we filed an initial brief on

   3     that --

   4                THE COURT:      Right.

   5                MR. KAROTKIN:       -- and I don't -- the other people did

   6     not.

   7                THE COURT:      No, the other people said it's too

   8     premature because the RSA issue hasn't been resolved.                   And I --

   9     if I were to approve your motion on the RSA, it seems to me

  10     that frames the issue on whether the subrogation group is

  11     impaired or not and, if I deny it, it kind of moots it.                   So --

  12                MR. KAROTKIN:       That's fine.

  13                THE COURT:      Yeah, okay.       And then the other question

  14     is this flurry of papers yesterday from the committee and

  15     others, about continuing the exit-financing motion.                  Does the

  16     debtor have opposition to that?

  17                MR. KAROTKIN:       We're not prepared to consent to that

  18     today.    We do have a December 20th deadline to get the

  19     approval, and we would need to consult with the equity

  20     providers before we would be in a position to agree to adjourn

  21     that.

  22                THE COURT:      Well, but I -- I mean, how could I insist

  23     on going forward on a hearing in thirteen days if they haven't

  24     even gotten their discovery out of the way?                I mean, I guess I

  25     can defer it a little bit, take it up at the hearing next week,

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   1     but that's --

   2                 MR. KAROTKIN:      If you could defer it a couple of days,

   3     we may be able to get consent to that.

   4                 THE COURT:     Okay.      Mr. LeBlanc, you want to address

   5     that?    And I do need you to state your name for the record,

   6     even though I recognize you.

   7                 MR. LEBLANC:      Andrew LeBlanc, Milbank, on behalf of

   8     the official committee, Your Honor.

   9                 We filed the letter yesterday --

  10                 THE COURT:     Right.

  11                 MR. LEBLANC:      -- knowing that we had this hearing

  12     today, and -- because the debtors have told us that they'll

  13     make their witness available on Friday; so, two days from now.

  14     We haven't received a single document.              I don't think -- they

  15     haven't provided what their actual plan, lowercase P, is with

  16     respect to the equity commitments that have changed

  17     fundamentally from what they filed.

  18                 THE COURT:     Right.

  19                 MR. LEBLANC:      So I just don't know how we can defer

  20     the issue, because if we can't take the deposition -- if we

  21     don't have the documents, we can't take the deposition.                   If we

  22     don't take the deposition, I don't know how we file an

  23     opposition on the 10th when it is due, based on the current

  24     schedule.

  25                 And so I just don't think this is something that we

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   1     can defer.    Obviously, we think the right answer is just take

   2     it off the calendar and then we don't have to worry about the

   3     discovery, and they -- when they're ready, they can go forward

   4     with their motion and provide us with the documents.                   We think

   5     that --

   6                THE COURT:      Well, we have a hearing scheduled here in

   7     this courtroom --

   8                MR. LEBLANC:       Yeah.

   9                THE COURT:      -- a week from today, on the pre-petition

  10     interest -- I mean post -- excuse me, post-petition- --

  11                MR. LEBLANC:       Yes.

  12                THE COURT:      -- interest issue.         And I could right now

  13     extend any response by the committee to a day or two after

  14     that, and we can revisit this on Wednesday if there's an

  15     agreement.    Does that make sense?

  16                MR. LEBLANC:       The only portion of that that is

  17     concerning, Your Honor, is we do need discovery, including

  18     documents and a deposition, before -- and more than one

  19     deposition; there're depositions scheduled by other parties, as

  20     well.

  21                THE COURT:      Right.     Right.

  22                MR. LEBLANC:       We need that before we file our

  23     opposition.    We can't take the depositions until we get

  24     documents.

  25                THE COURT:      No, I got it.

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   1                MR. LEBLANC:       And so I'm fine -- I'm going to be back

   2     here next week in any event, and I'm fine talking about it next

   3     week, but I will tell the Court that, if we don't get the -- if

   4     we can't do it on the schedule that exists now in any event,

   5     because we can't take a deposition on Friday, having not been

   6     provided any documents yet --

   7                THE COURT:      Well, you could, but you wouldn't --

   8                MR. LEBLANC:       Yeah, we could; it just wouldn't be

   9     very --

  10                THE COURT:      -- wouldn't be very effective.

  11                MR. LEBLANC:       -- effective.       Yeah.    It would not be

  12     the first time --

  13                THE COURT:      But it'd be quick.

  14                MR. LEBLANC:       I'm not sure that's true even.            It'd be

  15     a lot of questions about what are you guys actually doing, that

  16     I'm not sure anyone can answer.

  17                So that's fine -- I'm fine addressing it again next

  18     week, but I will tell the Court that, given where things sit

  19     today, only thirteen days before that scheduled hearing, the

  20     fact that we've received no documents, we will not be in a

  21     position, consistent with due process, to proceed with a motion

  22     that seeks to incur almost a billion dollars of commitment fees

  23     against this estate.

  24                THE COURT:      Well, Mr. Karotkin, I understand you have

  25     to answer, and you have to communicate with, a large group of

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   1     people, and they can't instantly respond.               But, I mean, I --

   2     seasoned lawyers would recognize, trial judges give time for

   3     people to get discovery done.            So is that a clue to say I'll

   4     probably grant an extension -- or do you want me to keep it

   5     open so you can stipulate to an extension?

   6                 MR. KAROTKIN:      You're not giving me much of a choice.

   7     I would prefer if you keep it open.

   8                 THE COURT:     Well, local counsel, Ms. Kim, locally, has

   9     been in touch with my clerk about alternate days that are

  10     available on my calendar, and there are -- I'm here.                   And many

  11     of you who travel and want to observe holidays; obviously, I'm

  12     mindful of that.        But, I mean, there are a couple of days prior

  13     to the January 14th date, which is getting kind of full with a

  14     lot of stuff anyway.        So I could move a hearing from December

  15     17th to something like Friday, January 3rd, without a great

  16     inconvenience.      But I'm also willing to take a chance of

  17     letting it simmer for a day or two if you can respond by then,

  18     Mr. Karotkin.

  19                 Why don't we leave it at this:            that why don't you --

  20     can you commit to me and to Mr. LeBlanc to file something in

  21     terms of either a voluntary continuance to some date, or

  22     opposition, in which case I guess I'll have to make a ruling on

  23     it?     Is that okay?

  24                 MR. KAROTKIN:      Yeah, so we could do that by tomorrow

  25     close of business.

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   1                THE COURT:     Well, I was going to say Friday.

   2                MR. KAROTKIN:      Friday's even better.

   3                THE COURT:     Okay.       So -- well --

   4                MR. LEBLANC:      And --

   5                THE COURT:     -- you go ahead with your -- I mean, also

   6    you want to get your information, and --

   7                MR. LEBLANC:      We do.     And the one note I would make is

   8    they've offered up only Friday for their witness, and we're

   9    obviously not going to take that deposition on Friday, given

  10    where things sit today.         So, fine having Mr. Karotkin take

  11    couple of days, submit his response, but we're -- I don't want

  12    anyone to think we're going to show up in New York for Mr.

  13    Ziman's deposition on Friday.

  14                THE COURT:     I'm going to be mindful and optimistic

  15    that seasoned counsel will come up with some --

  16                MR. LEBLANC:      Yes.

  17                THE COURT:     -- sensible resolution of it and I won't

  18    have to be involved.        But I'll make a ruling on it after I --

  19    if I get a no-movement position from the debtor, I'll decide

  20    what to do about it.

  21                MR. LEBLANC:      Thank you, Your Honor.

  22                THE COURT:     Okay?       So, according to my calculation,

  23    Mr. Karotkin, unless you have another thinking, the only matter

  24    left to attend to today is the continued hearing on the RSA

  25    agreement (sic).       And I previously indicated about a one-hour

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   1    allocation to either side.             I will tell you that certain

   2    unnamed people have criticized me for conducting marathon

   3    hearings and trying to starve people to death.                  I have sources

   4    telling me that people are bringing food supplies out into the

   5    attorney conference room.          So I intend to take a break at some

   6    point this morning for the benefit of any members of my staff

   7    that might be suffering from something.                But on the other hand,

   8    if we can continue -- if we can stick with the estimated "a

   9    couple of hours", then we ought to be able to do it.

  10                So do you have anything else you want to raise today,

  11    that we need to deal with?

  12                MR. KAROTKIN:      No, sir.

  13                THE COURT:     Okay, then the way -- consistent with my

  14    preliminary statement, your side has an hour.

  15                MR. STAMER:      Your Honor, I apologize.           For the record,

  16    Mike Stamer from Akin Grump, on behalf of the --

  17                THE COURT:     Mr. Stamer.

  18                MR. STAMER:      -- ad hoc committee.

  19                There is some housekeeping that I'd like to discuss.

  20                THE COURT:     Okay.

  21                MR. STAMER:      I think it's probably best discussed

  22    after the RSA motion.

  23                THE COURT:     Well, I don't intend to rule from the

  24    bench.    I intend to take it under advisement.

  25                MR. STAMER:      It actually doesn't relate to the RSA

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   1    motion.    It relates to the competitive plan process and the

   2    lack of information flow from the company.                Again, I think it

   3    would inform the Court and be helpful to the parties if you go

   4    forward with the RSA motion; you'll hear from the various

   5    parties, and then I'll get up at the end.               I just wanted to let

   6    Your Honor know we do have an issue we'd like to talk to you

   7    about, but we're happy to let the RSA motion go first.

   8                THE COURT:     Well, we also have on schedule, coming up,

   9    a day to talk about the whole confirmation process.                   But --

  10                MR. STAMER:      Your Honor, therein lies the rub.            If

  11    you'd like, I can give you a preview right now.

  12                THE COURT:     I don't care.        Well, I'll do it your way.

  13    I mean, we'll go the way you suggest; we'll --

  14                MR. STAMER:      Okay.

  15                THE COURT:     -- do it at the end of the day.

  16                MR. STAMER:      Thank you, Your Honor.

  17                THE COURT:     Okay, Mr. Karotkin, are you going to go

  18    first?

  19                MR. KAROTKIN:      Yes, sir.

  20                THE COURT:     It'd be helpful -- I mean, I want you to

  21    say whatever you want to say, but I'd like you to be -- focus

  22    on, to some extent, the statements made by Mr. Julian in the

  23    papers he filed yesterday about this two-consent process and

  24    whether what you're advocating with the RSA is in direct

  25    contravention of controlling Ninth Circuit law.

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   1                MR. KAROTKIN:      I think that, Your Honor, Mr. Feldman

   2    will be addressing --

   3                THE COURT:     Okay.

   4                MR. KAROTKIN:      -- most of those issues.             But I will

   5    say one thing:       that the opt-in consents to releases that are

   6    provided in our plan and the RSA are almost precisely the same

   7    language as contained in the ad hoc committee and the TCC plan.

   8    So, frankly I don't -- when I read that, I couldn't quite

   9    comprehend what Mr. Julian was referring to.

  10                THE COURT:     Well, I have on my list of questions for

  11    him -- is whether their plan violates the Ninth Circuit law

  12    also, but --

  13                MR. KAROTKIN:      Well, yeah, I mean, I think, Your

  14    Honor, if you --

  15                THE COURT:     And if we're going to violate the Ninth

  16    Circuit, we might as well be consistent about it.

  17         (Laughter.)

  18                MR. KAROTKIN:      Exactly.      I mean, since they want to

  19    violate the Ninth Circuit on interest, they might as well try

  20    to violate it on other grounds as well.

  21                THE COURT:     Might as well.

  22                MR. KAROTKIN:      But I think that the cases that Mr.

  23    Julian cites, and I'm sure Mr. Feldman will get into that,

  24    don't even come close to resembling the issue before the Court,

  25    and are completely miscited for propositions that are even

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   1    relevant to what you're considering today.

   2                THE COURT:     Okay.

   3                MR. KAROTKIN:      But let me go back and make a brief

   4    statement as to where we are, because I think, Your Honor, it's

   5    very important to put today's motion into the context of these

   6    cases and where they are.          And, Your Honor, in what you, Your

   7    Honor, have characterized as major progress -- and again, using

   8    your words, "major progress" -- in these cases the debtors,

   9    pursuant to the RSA, have settled twenty billion dollars of

  10    subrogation claims, for eleven billion dollars; a forty-five-

  11    percent discount.       And perhaps equally important, the

  12    settlement fully complies with the requirements of 1054.

  13                And I think it's important to note, Your Honor, that

  14    the requirements of 1054 do not apply just to personal-injury

  15    claims.    The requirements apply to the insurance

  16    subrogations --

  17                THE COURT:     Yes, the whole --

  18                MR. KAROTKIN:      -- expressly as well.

  19                THE COURT:     -- fire issue, right.

  20                MR. KAROTKIN:      Right.     So this settlement complies

  21    with 1054 in accordance with its terms.               It's been memorialized

  22    in the restructuring-support agreement, with customary and

  23    typical terms and provisions, that all of the objecting parties

  24    have themselves proposed and advocated routinely, routinely, in

  25    other Chapter 11 cases around this country and, as Your Honor

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   1    noted in your recent statement that you filed, include common

   2    features; your words, "common features".

   3                To convince the Court to terminate the debtors'

   4    exclusive periods, Your Honor, about two months ago, both the

   5    tort-claimants committee and ad hoc noteholders adopted the

   6    economic terms of the subrogation settlement wholesale, thereby

   7    acknowledging its reasonableness and how the TCC can continue

   8    to argue otherwise or that the settlement doesn't comply with

   9    the applicable standards of compromise and settlements, whether

  10    under 9019 or the fair-and-equitable rule.                Frankly, Your

  11    Honor, totally mystifies me how they can --

  12                THE COURT:     Well, they -- but in fairness, they

  13    hadn't, and then they probably couldn't have, brought it on as

  14    a 9019 motion, but they certainly could set it up as a plan

  15    issue, right?

  16                MR. KAROTKIN:      Again, they've adopted that economic

  17    settlement in their plan.

  18                THE COURT:     Right.

  19                MR. KAROTKIN:      It's there.       They've agreed -- and Mr.

  20    Stamer -- on the record of the hearing before this Court, they

  21    agreed in their plan to pay the subrogation claimants eleven

  22    billion dollars in cash.

  23                THE COURT:     Right.

  24                MR. KAROTKIN:      That's on the record.

  25                THE COURT:     That's right.

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   1                MR. KAROTKIN:      Whether -- what their plan -- the mish-

   2    mosh that their plan provides and how they try to finesse that

   3    issue is another issue.         But on the record before this Court,

   4    they said that.

   5                THE COURT:     I can hear you.

   6                MR. KAROTKIN:      Okay.

   7                THE COURT:     There's a hearing going on in Washington

   8    where people yell at each other, but we're not going to do it

   9    here.    We're too civilized.

  10                MR. KAROTKIN:      Okay, Your Honor.         The only evidence

  11    before the Court that is completely unchallenged is Mr. Wells'

  12    declaration, the CFO of --

  13                THE COURT:     Yeah, I was going to say --

  14                MR. KAROTKIN:      -- of the company.

  15                THE COURT:     -- Ms. Winthrop, I believe, from the

  16    Adventists, took issue with whether there's any evidence to

  17    support Mr. Wells' statement.

  18                MR. KAROTKIN:      Well, Mr. Wells is here today.            His

  19    declaration is in evidence.            There's -- no one's -- to my

  20    understanding, has challenged that.              It's undisputed.       And as

  21    set forth in that declaration, it demonstrates that the

  22    settlement reflected in the RSA is the product of literally

  23    months of hard-fought, arm's-length negotiations, with the

  24    assistance and advice of the debtors' retained professionals,

  25    including an analysis of the claims, the risks of litigation,

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   1    the impact on the successful and timely administration of these

   2    cases, and, of course, Your Honor, the substantial discount

   3    achieved in the settlement.

   4                And I'll note for the record that the subrogation

   5    claims filed are well in excess of twenty billion dollars.                    And

   6    I think the Court can take judicial notice of that.                   And those

   7    claims were filed prior to the bar date.

   8                THE COURT:     Can you help me understand the expert

   9    testimony or the declaration of -- I can't -- Buntler (ph.) --

  10    not pronouncing the gentleman's name correctly -- that was

  11    filed yesterday for the TCC?

  12                MR. KAROTKIN:      I cannot.      I don't understand --

  13                THE COURT:     I don't quite understand what his analysis

  14    is telling me, but it --

  15                MR. KAROTKIN:      I don't either.

  16                THE COURT:     Well, okay, but it, bottom line, seems to

  17    be that the claims, that he's perceived at least, are well

  18    under that; they're in the ten-billion-dollar range.                   And I --

  19                MR. KAROTKIN:      I think what he's saying is those that

  20    match actual --

  21                THE COURT:     Right.

  22                MR. KAROTKIN:      -- claims filed by individuals are ten

  23    billion dollars.       I don't know what that means.

  24                THE COURT:     Okay.

  25                MR. KAROTKIN:      Okay?     And I think he said it's --

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   1                THE COURT:     That makes two of us.

   2                MR. KAROTKIN:      -- incomplete.        I don't know if he's

   3    here today.     I mean, we saw that yesterday for the first time

   4    as well.     And we didn't -- frankly, we didn't even know that

   5    person had been involved in this case or retained by anybody.

   6                THE COURT:     Well, I understand.

   7                MR. KAROTKIN:      Okay.

   8                THE COURT:     That's a different issue.           I mean, I'm not

   9    here to criticize him.         I'm just saying I don't quite

  10    understand it, and you're saying the same thing.

  11                MR. KAROTKIN:      Yeah, I don't understand --

  12                THE COURT:     Mr. Julian or --

  13                MR. KAROTKIN:      Frankly, I don't understand the entire

  14    pleading, but that's --

  15                THE COURT:     -- someone on the other side can --

  16                MR. KAROTKIN:      I'm sure Mr. Julian will try to explain

  17    that to you.

  18                THE COURT:     Okay.

  19                MR. KAROTKIN:      So as I said, claims in excess of

  20    twenty billion dollars have been filed.               And I think if Your

  21    Honor were to look at the claims record, they're in excess of

  22    thirty-five billion dollars.

  23                And perhaps it's important to note that this

  24    compromise and settlement frees up substantial value to be

  25    distributed to other claimants in these cases and, perhaps more

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   1    importantly, greatly facilitates the ability of the debtors to

   2    emerge from Chapter 11 successfully as solvent debtors and to

   3    comply with the requirements of 1054.

   4                THE COURT:     The question, though -- the question is

   5    does it violate controlling federal law?               And that's the issue.

   6    That's gets back to the whole point about Lowenschuss and

   7    third-party releases and what have you.

   8                MR. KAROTKIN:      And again, Your Honor, Mr. Feldman will

   9    address that.

  10                THE COURT:     Right.

  11                MR. KAROTKIN:      The third-party releases are

  12    consistent, I think, with what you've approved previously.

  13                THE COURT:     Right.

  14                MR. KAROTKIN:      They are purely voluntary releases.

  15    And again, the cases cited by Mr. Julian don't even relate to

  16    the issues before that court -- before the Court.                   They have

  17    nothing to do with voluntary releases; absolutely nothing.                      And

  18    he misquotes them and miscites them.

  19                The subrogation-claims settlement, Your Honor, meets

  20    the standards for approval, whether under Bankruptcy Rule 9019

  21    or the fair-and-equitable standard.              Indeed, Your Honor, no

  22    party other -- no party other than the tort-claimants committee

  23    has argued that that standard has not been met.                 And I

  24    already -- and as I already noted, having adopted the economic

  25    terms of the settlement in their competing plan, that argument

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   1    as to the reasonableness of the settlement or whether it

   2    comports with applicable standards cannot be taken seriously.

   3                Under the undisputed facts present here, Your Honor,

   4    where the subrogation claimants already have paid fire victims

   5    well in excess of fifteen billion, have reserves for billions

   6    of more payments, had filed claims for twenty billion dollars,

   7    and have agreed to a forty-five-percent discount, under these

   8    circumstances, Your Honor, no one can challenge the

   9    reasonableness of the settlement, much less seriously contend

  10    that it falls below the lowest point in the range of

  11    reasonableness.

  12                And moreover, as demonstrated in Mr. Wells'

  13    declarations, even if the fair-and-equitable test were

  14    applicable, those standards are met as well.                The settlement

  15    takes into account a comprehensive analysis and assessment of

  16    the probabilities and risks of the litigation; professional

  17    advice on these matters, including the risks associated with

  18    estimation hearings; jury trials in San Francisco; and the

  19    amounts already paid by the subrogation claimants and validated

  20    by the Insurance Department.            The settlement takes into account

  21    an analysis of the complexity of the litigation and the

  22    expenses and delay associated with continuing with that

  23    litigation, including evidence as to twenty-two wildfires,

  24    causation, liability, and damages, and thousands of underlying

  25    loss claims, including different views as to causation relating

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   1    to the Tubbs fire.

   2                And the settlement plainly is in the interest of

   3    creditors and all parties in this case, by reason of the

   4    substantial discount.         As I mentioned, the freeing up of

   5    consideration for other creditor constituencies in these

   6    cases --

   7                THE COURT:     Well, the TCC has argued more than once

   8    that this deal sucks all the cash out and leaves them with

   9    noncash.     Is that something I need to focus on today?

  10                MR. KAROTKIN:      No.

  11                THE COURT:     And is it true?

  12                MR. KAROTKIN:      It's not true.        And in fact -- Your

  13    Honor, again, they've adopted the settlement.

  14                THE COURT:     Well, I understand.

  15                MR. KAROTKIN:      Okay?

  16                THE COURT:     I understand.

  17                MR. KAROTKIN:      I don't know how they can -- at some

  18    point they can't have it both ways.              I mean, that's sort of a

  19    consistent position they've taken in these cases from the

  20    start.     They want it both ways.          They can't have it both ways.

  21    Okay?

  22                And the fact that -- as Your Honor noted, this

  23    settlement resolves a major contingency in these cases and, as

  24    I said, in full compliance with the requirements of AB 1054,

  25    and will greatly facilitate getting these cases confirmed by

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   1    June 30th, 2020, consistent with the requirements of AB 1054,

   2    so that the reorganized debtors can take advantage of the go-

   3    forward --

   4                THE COURT:     Well, isn't it true -- isn't it true,

   5    though, that if this RSA is not approved, that Tubbs goes

   6    forward, Judge Donato's hearings go forward, unless there's

   7    some other, of course, change of course?                And at the end of

   8    those two processes, there will be a figure of an estimation.

   9    The bottom line, as I see it, is Judge Donato is tasked with

  10    coming up with an estimation number.               And if the RSA is

  11    approved, there's a plug-in, eleven billion.                 It's not a --

  12    it's not a squishy number.             It's a hard number.       If there is

  13    not approval, then he or it, at court, and the jury in Tubbs,

  14    has to come up -- I mean, really not the jury in Tubbs.                    The

  15    jury in Tubbs does what it does, then Judge Donato factors

  16    in --

  17                MR. KAROTKIN:      Right.

  18                THE COURT:     -- that data point and all the other data

  19    points, including the twenty billion-plus claims of the subro

  20    group --

  21                MR. KAROTKIN:      Exactly.

  22                THE COURT:     -- and plugs in a number.

  23                MR. KAROTKIN:      That's correct.

  24                THE COURT:     So the eleven's --

  25                MR. KAROTKIN:      And that -- and this settlement --

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   1                THE COURT:     The eleven's already there, right?

   2                MR. KAROTKIN:      Right.      And that settlement

   3    eliminates -- this settlement eliminates the risk --

   4                THE COURT:     Right.

   5                MR. KAROTKIN:      -- of the estimation of that number,

   6    taking into account the 20 billion dollars of claims; taking

   7    into account they've already spent 15.8 billion dollars; taking

   8    into account the reserves.

   9                THE COURT:     Does the decision on inverse condemnation

  10    change anything in terms of setting a floor of no less than

  11    some number that's not known but it's -- it starts with a B.

  12    Right?

  13                MR. KAROTKIN:      I think, Your Honor, that your decision

  14    on inverse condemnation only buttresses their ability to

  15    approve the twenty billion dollars.

  16                THE COURT:     Well, but what I'm getting at --

  17                MR. KAROTKIN:      And in that --

  18                THE COURT:     -- is it puts a -- it puts a not-less-than

  19    figure, no matter what; right?

  20                MR. KAROTKIN:      Correct.         And --

  21                THE COURT:     Right.       Okay.

  22                MR. KAROTKIN:      -- again, your decision on inverse only

  23    makes this settlement better from the standpoint of the

  24    estates.

  25                THE COURT:     Okay.       Flesh that out a bit.

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   1                MR. KAROTKIN:      Pardon me?

   2                THE COURT:     Just explain that a little more --

   3                MR. KAROTKIN:      I'll let Mr. --

   4                THE COURT:     -- to me.

   5                MR. KAROTKIN:      I'll let Mr. Feldman --

   6                THE COURT:     Okay.

   7                MR. KAROTKIN:      -- explain that to you.

   8                So, Your Honor, from the debtors' standpoint and from

   9    the estate's standpoint, we think the issue before the Court is

  10    quite straightforward and the path to take is very clear.                     And

  11    this is even more the case in view of how in the recent

  12    pleading filed by the subrogation claimants that we have joined

  13    in -- addresses the few issues that you have raised and, we

  14    believe, has resolved those issues.

  15                THE COURT:     Oh, you mean the revised worksheet?

  16                MR. KAROTKIN:      That's correct.

  17                THE COURT:     Yeah.       Okay.

  18                MR. KAROTKIN:      And so we think, Your Honor, the path

  19    forward is quite simple:          approval of the settlement, which,

  20    again, you have appropriately noted is a significant step

  21    forward in these cases, and a settlement in an amount that

  22    competing plan proponents have embraced, or the alternative,

  23    Your Honor, is jettisoning the settlement, resurrecting twenty

  24    billion dollars in claims, and jeopardizing the entire

  25    success --

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   1                THE COURT:     What happens if I --

   2                MR. KAROTKIN:      -- of these cases.

   3                THE COURT:     What if I don't jettison or approve it, I

   4    just hold it, decide and -- because some have asked me to

   5    consider -- I believe that was one of the positions by the

   6    governor's office or some other party -- then just hold it?                       I

   7    mean, I realize I don't -- my job is to make decisions that are

   8    presented to me, not to sit on them, but sometimes judges do

   9    that anyway, intentionally or unintentionally.

  10                MR. KAROTKIN:      Your Honor --

  11                THE COURT:     What's the downside of doing that?

  12                MR. KAROTKIN:      I assume you're aware of the fact there

  13    is a drop-dead date in the RSA.

  14                THE COURT:     Well, there is.

  15                MR. KAROTKIN:      And it's a serious drop-dead date.

  16    They have agreed to extend it a number of times.                     You can speak

  17    with Mr. Feldman.       It's my understanding that this Friday is a

  18    hard date for them.        And they want this resolved.              We want this

  19    resolved.     There are estimation proceedings going forward.

  20    People are spending money.             We want it resolved so we can move

  21    forward in these cases.

  22                THE COURT:     But I also -- again, I don't want to turn

  23    this into I'm playing chicken with Mr. Feldman.                  If I need more

  24    than Friday to make a decision, I suspect it'll be okay.                        But

  25    I'm -- and I'm not -- I was actually suggesting another

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   1    alternative of -- and I think you've answered it and Mr.

   2    Feldman answered it.        If I just say, "I think I'll just let

   3    this simmer until we get to confirmation," then obviously he

   4    could tell me that all bets are off.              And --

   5                MR. KAROTKIN:      Your Honor --

   6                THE COURT:     -- more importantly, I don't know what he

   7    would tell Judge Donato.

   8                MR. KAROTKIN:      Your Honor, from the debtors'

   9    perspective, we think this is a very, very, very reasonable and

  10    good deal.     And from the debtors' perspective, and as

  11    fiduciaries for all parties-in-interest, we don't want to take

  12    the risk that this thing blows up.             We don't think that's

  13    appropriate.     We think it has to be determined within the time

  14    frames in the agreement.

  15                As I mentioned, we and the subrogation claimants have

  16    reviewed your recent statement and considerations.                  We filed a

  17    pleading.     We believe that that pleading addresses all of your

  18    concerns, clarifies issues that you may have had issues or

  19    problems with.       We have filed with that an amended and restated

  20    proposed RSA that incorporates that.              And we believe, under

  21    those circumstances, that this settlement should be approved.

  22                I would like to mention one thing.             I was asked by one

  23    of the plaintiff lawyers to mention something on the record to

  24    make sure it's --

  25                THE COURT:     Okay.

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   1                MR. KAROTKIN:      -- abundantly clear.

   2                THE COURT:     All right.

   3                MR. KAROTKIN:      So if I -- I would like to make it

   4    clear that no one in the RSA is taking the position that the

   5    fire victims are releasing their insurance contract, coverage,

   6    or bad-faith claims as part of any proposed settlement with

   7    any --

   8                THE COURT:     Well, all they're releasing is the make-

   9    whole things, right?

  10                MR. KAROTKIN:      Only if they voluntarily agree to

  11    settle --

  12                THE COURT:     No, I understand --

  13                MR. KAROTKIN:      -- their claims.

  14                THE COURT:     -- but that --

  15                MR. KAROTKIN:      Okay.

  16                THE COURT:     -- that's the way I have gone through the

  17    revised version, and particularly this chart.

  18                MR. KAROTKIN:      Right.

  19                THE COURT:     That seems to be the only thing that's

  20    released.     Isn't that --

  21                MR. KAROTKIN:      That is the only thing released,

  22    unless --

  23                THE COURT:     -- what you're restating?

  24                MR. KAROTKIN:      -- unless, Your Honor, they voluntarily

  25    opt in.

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   1                THE COURT:     Well, but if they opt in, what have they

   2    opted into?     In other words, what is the -- and let's assume

   3    that some of them will opt in.             What are they releasing?

   4                MR. KAROTKIN:      They've opt (sic) in to releasing third

   5    parties in connection with the -- claims against third parties

   6    in connection with the administration of the estates.                    It's

   7    clearly set forth in the plan, what they would opt into.                       And

   8    again, entirely consistent with the competing plan filed by the

   9    TCC and the ad hoc group.

  10                Again, voluntary, consistent with your ruling in the

  11    prior PG&E case --

  12                THE COURT:     Well, that gets a lot of mileage, but that

  13    was a very discrete, one-on-one, one-off-type arrangement.

  14                So walk me through another step.              And if you want to

  15    pass this off on your colleague, you can, but --

  16                MR. KAROTKIN:      Depends on how hard the question is.

  17                THE COURT:     Well, it's a question that I want Mr.

  18    Julian or someone on the other side to answer too, and that's

  19    as follows:     what happens to a victim -- let's say a victim who

  20    is -- a victim who is expecting to get a payment of -- pick a

  21    number -- 100,000 dollars.             If the person opts in and the plan

  22    gets confirmed, when and how does that person get some money?

  23    You don't -- you can't predict that; can you?

  24                MR. KAROTKIN:      That claim is channeled to the trust --

  25                THE COURT:     It sounds in trust.

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   1                MR. KAROTKIN:      -- which will be administered by the

   2    trustee.

   3                THE COURT:     Right.

   4                MR. KAROTKIN:      And that claim will be paid in

   5    accordance with the trust procedures.

   6                THE COURT:     But do we have any idea when that means?

   7    Because Mr. Julian makes the argument that, if you don't opt

   8    in, you'll be waiting for ten years.

   9                MR. KAROTKIN:      The same trust procedures that they

  10    would have under their plan --

  11                THE COURT:     I know, but --

  12                MR. KAROTKIN:      -- as well.

  13                THE COURT:     -- help me -- what's the -- how does it

  14    work?    In other words --

  15                MR. KAROTKIN:      Typically the way the trust would be

  16    set up is it would -- there would be a matrix to enable people

  17    to get their money very quickly if they wanted to get it

  18    quickly.     They also reserve their rights to have a jury trial

  19    if they want a jury trial.

  20                THE COURT:     But if -- but this goes back to a hearing

  21    that we had way, way back early on.              What does it mean to get a

  22    jury trial?     If the jury -- if the jury comes in with a million

  23    dollars, you don't necessarily get a million dollars; you get a

  24    million into the pool --

  25                MR. KAROTKIN:      But again, Your Honor --

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   1                THE COURT:     -- right?

   2                MR. KAROTKIN:      -- the way that the trust is set up,

   3    and the way that the funding of the trust is set up, it's

   4    designed to be in accordance with the estimation ruling.                       It's

   5    got to be funded in accordance with the estimation ruling.

   6                THE COURT:     Right.       It's got to be funded in

   7    accordance with the estimation ruling, which --

   8                MR. KAROTKIN:      And that is why you have said, and I

   9    believe Judge Donato have (sic) said, you're going to be

  10    conservative in those decisions.

  11                THE COURT:     Well, that's not my call anymore.

  12                MR. KAROTKIN:      Okay, well --

  13                THE COURT:     But my point is that Judge Donato has to

  14    make a -- has to pick a number, and that is the number.                    That's

  15    in concrete at that point.             Right?

  16                MR. KAROTKIN:      That's correct.

  17                THE COURT:     And so --

  18                MR. KAROTKIN:      Under both plans.

  19                THE COURT:     Yeah, I know that.          But we're only talking

  20    about the impact on this one today.               So what I'm trying to

  21    understand more clearly is that -- let's go back to our

  22    hypothetical claimant who says, "I'm in.                I'll release

  23    everybody."     Is there any way of predicting how and when that

  24    person will get money, compared to what if the person opts out?

  25    Is there any way of understanding that from the trust

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   1    structure?     I don't know -- I don't understand it.               I'm not

   2    trying to set you up for a quick question --

   3                MR. KAROTKIN:      The claims will be --

   4                THE COURT:     -- a trick question here.

   5                MR. KAROTKIN:      The trust procedures have not yet been

   6    fully developed.       As I understand how they will work, there'll

   7    be a matrix pursuant to which people can settle their claims

   8    quickly --

   9                THE COURT:     Um-hum.

  10                MR. KAROTKIN:      -- and get paid.

  11                THE COURT:     And get paid quickly.

  12                MR. KAROTKIN:      And get paid quickly.          If they're not

  13    happy with that, they can go to mediation, they can go to

  14    arbitration.     If at the end of the day they're not happy, they

  15    have a right to have -- to go to trial and have their claim

  16    adjudicated.

  17                THE COURT:     Right, and they can --

  18                MR. KAROTKIN:      That's how it typically works.

  19                THE COURT:     -- they can sue everybody for everything

  20    they want.

  21                MR. KAROTKIN:      And if they -- and if they opt out of

  22    the releases, they can sue anybody who they choose to sue.

  23                THE COURT:     Well, leaving aside suing third parties

  24    either in another forum or maybe in this forum, the point is

  25    they don't get any money; no money gets freed up until that's

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   1    over with; isn't that correct?

   2                MR. KAROTKIN:      That's correct.        They --

   3                THE COURT:     Okay.

   4                MR. KAROTKIN:      They either settle or they litigate.

   5                THE COURT:     They settle --

   6                MR. KAROTKIN:      That's correct.

   7                THE COURT:     -- or they litigate.          And so -- okay,

   8    that's what I thought.         Okay.

   9                MR. KAROTKIN:      And now I would like to cede the podium

  10    to Mr. Feldman.

  11                THE COURT:     Okay.       Good morning, Mr. Feldman.

  12                MR. FELDMAN:      Good morning, Your Honor.             Again for

  13    the --

  14                THE COURT:     You used to sit on that side of the room.

  15                MR. FELDMAN:      Oh, that was --

  16                THE COURT:     What happened?

  17                MR. FELDMAN:      They just -- they occupied me.

  18                THE COURT:     You're known by the company you keep, you

  19    know.

  20                MR. FELDMAN:      Then I'm on the wrong side.

  21                For the record, Your Honor, Matthew Feldman, Willkie

  22    Farr & Gallagher, on behalf of the ad hoc group of subrogation

  23    claimants.

  24                Your Honor, I want to pick up where you left off with

  25    Mr. Karotkin on how the releases work, because I think it's a

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   1    little bit conflated still.            And I want to try to take you

   2    through it more simply.         Although, I will completely confess

   3    and acknowledge upfront, I don't know how the trust mechanics

   4    are going to work, because, as far as I know, they don't exist.

   5    And as far as I'm concerned, unless this Court rules in certain

   6    ways today, we don't have any intention of being involved in

   7    those trust mechanics that really should be between the company

   8    and the --

   9                THE COURT:     No, I understand.         And --

  10                MR. FELDMAN:      -- and the TCC.

  11                THE COURT:     And I think you even made the point

  12    before, either to me or maybe it was to Judge Donato, that if

  13    this RSA gets approved, you're out of the picture, to some

  14    extent.

  15                MR. FELDMAN:      We're on the sidelines.

  16                THE COURT:     Yeah, okay.

  17                MR. FELDMAN:      There are actually two separate types of

  18    releases contemplated by the RSA.             Let me deal with the

  19    simpler --

  20                THE COURT:     And that's what --

  21                MR. FELDMAN:      -- one first.

  22                THE COURT:     -- Mr. Julian focused on.

  23                MR. FELDMAN:      Yes.     Let me deal with the --

  24                THE COURT:     Okay.

  25                MR. STAMER:      Let me deal with the simpler one first.

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   1    The RSA says that the plan that's going to be proposed by the

   2    company will include -- as Mr. Karotkin characterized it, as a

   3    standard release of third-party claims, for people's

   4    participation in the bankruptcy.              It's somewhat of an

   5    exculpation-type release.          You have to opt into that release in

   6    order to be bound by it.

   7                So, not checking the box, you haven't opted in.

   8    Checking the box that you're opting out, you haven't opted in.

   9    So that release will only apply to those people who actually

  10    opt in.    And carved out of that release, as Mr. Karotkin said,

  11    is what I will shorthand to "ordinary-course claims" you may

  12    have against your insurance company for acting in bad faith,

  13    for not paying the amount they should pay.                 They have all of

  14    those state-law rights and can pursue their insurance company

  15    for those types of claims.

  16                The much more important, from my client's perspective,

  17    provision in the RSA deals with a circumstance which we all

  18    hope to be the case:        the company is solvent and it is

  19    confirming a solvent plan.             Judge Donato, state-court judge in

  20    Tubbs -- they've made whatever rulings they've made.                    The

  21    individual plaintiffs' claims, who we're fully supportive -- I

  22    can't stress this enough -- of being paid in full-- that there

  23    is enough value here to pay them in full.

  24                In that circumstance, what would happen outside of

  25    bankruptcy is, as a condition to receiving that payment, you

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   1    would enter into a release of your made-whole rights, because

   2    you're being paid --

   3                THE COURT:     Because you're paid --

   4                MR. FELDMAN:      -- in full.

   5                THE COURT:     -- in full.       I mean --

   6                MR. FELDMAN:      Exactly.

   7                THE COURT:     -- you're made whole, therefore you don't

   8    have to --

   9                MR. FELDMAN:      Therefore, why do you need to --

  10                THE COURT:     -- you don't need a made-whole --

  11                MR. FELDMAN:      -- retain that right.

  12                THE COURT:     -- right if you're made whole.

  13                MR. FELDMAN:      Correct.

  14                THE COURT:     Right?      Okay.

  15                MR. FELDMAN:      Correct.      And so --

  16                THE COURT:     But it still -- but you need the company

  17    solvent and that figure of --

  18                MR. FELDMAN:      Let me get to that.

  19                THE COURT:     -- the estimation --

  20                MR. FELDMAN:      That's what I was going to get to next.

  21                THE COURT:     Okay.

  22                MR. FELDMAN:      So there are going to be two types of

  23    individual plaintiffs, who will participate in receiving

  24    distributions under the trust, that matter to this made-whole

  25    discussion.     They will all have insurance.             Some of them will

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   1    agree with the matrix that is proposed by the TCC and the

   2    company.     So to use your example, I'm entitled to 100,000

   3    dollars under the plan.         I agree; 100,000 dollars is fine.              I'm

   4    totally good with that.         Maybe I thought I was worth -- maybe I

   5    thought I was due 110,000, maybe I thought I was due 90-, but,

   6    you know what, I'm good with 100,000 dollars.                 I --

   7                THE COURT:     Take the money and run.

   8                MR. FELDMAN:      Take the money and run.          If you decide

   9    to take the money and run, you are releasing your made-whole

  10    claim against your insurance company, and now, based on

  11    feedback we had received at previous hearings, the insurance

  12    company is releasing you as well.

  13                THE COURT:     Right.

  14                MR. FELDMAN:      So there's a mutuality of release --

  15                THE COURT:     Mutuality of release.

  16                MR. FELDMAN:      -- in that circumstance.

  17                THE COURT:     And so my hypothetical victim gets his

  18    check for 100,000 and that's the end of you, and --

  19                MR. FELDMAN:      That's the end of it.

  20                THE COURT:     -- your client and he have the divorce.

  21                MR. FELDMAN:      And I don't know --

  22                THE COURT:     It's done.

  23                MR. FELDMAN:      -- exactly how quickly that will be, but

  24    presumably it will be quickly, because at consummation,

  25    presumably this matrix will exist --

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   1                THE COURT:     Well, I'm sure, to the victims --

   2                MR. FELDMAN:      -- and people'll have the right to do

   3    it.

   4                THE COURT:     -- nothing is quick.          But the point is --

   5                MR. FELDMAN:      Appreciate that.

   6                THE COURT:     -- it isn't the ten-to-twelve-year

   7    doomsday scenario that Mr. Julian described.

   8                MR. FELDMAN:      So let me go into the doomsday scenario.

   9                THE COURT:     Okay.

  10                MR. FELDMAN:      I look at the matrix and I am entitled

  11    to 100,000 dollars under the matrix.              But I think that that is

  12    woefully inadequate because I suffered all of these additional

  13    damages.     And so as a result of that, I want to exercise my

  14    litigation rights, whether that's mediation, arbitration --

  15                THE COURT:     Or you opt out.

  16                MR. FELDMAN:      -- or ultimately --

  17                THE COURT:     Opt out, or you --

  18                MR. FELDMAN:      You don't even have to opt out.

  19                THE COURT:     Or you don't opt in.

  20                MR. FELDMAN:      You don't take the money.             You don't

  21    cash the check, in that circumstance.              I go pursue that claim,

  22    and I pursue it for five years, all the way up to the

  23    California Supreme Court, and I get a judgment for 1,000,000

  24    dollars, when there was only 100,000 dollars.                 I now send my

  25    judgment to the trust.         If the trust has sufficient funds to

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   1    pay, however that works with the trust -- and I don't have an

   2    answer to that, Judge -- they'll pay the million dollars.                     But

   3    let's not worry about that scenario, because that's the easy

   4    scenario.     That's where someone's going to be paid in full and

   5    there is no made-whole because they've been paid in full, and

   6    they are deemed to have released the made-whole and the insurer

   7    is deemed to have released them.

   8                Now the trust doesn't have the 1,000,000 dollars; they

   9    have 750,000 dollars, because everybody's gotten 1,000,000-

  10    dollar judgments when it said 100,000 dollars.                 And so in fact

  11    you are exposed; there's a delta.             In that circumstance you

  12    have not released your made-whole claim against your insurer.

  13    And if you believe you have made-whole rights, you are entitled

  14    to pursue those made-whole rights.             And that's unrelated to

  15    whether you've opted in or not opted into the plan releases,

  16    because those plan releases don't go to made-whole.

  17                THE COURT:     Well, suppose that's what happens.

  18    Suppose our hypothetical person has decided to roll the dice

  19    and sue everybody and there's enough -- there's not enough

  20    money in the trust.        What -- has AB 1054 been ignored, or was

  21    it complied with but then subsequently things changed?

  22                MR. FELDMAN:      I think it's the latter.          I think the

  23    Court's going to have to make a finding, in connection with

  24    confirmation, that it's being complied with and --

  25                THE COURT:     But it doesn't -- again, I realize we're a

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   1    little off the subject, but --

   2                MR. FELDMAN:      Um-hum.

   3                THE COURT:     -- it doesn't mean that our hypothetical

   4    judgment creditor can go back to the company and --

   5                MR. FELDMAN:      Correct.

   6                THE COURT:     -- and say, "You're out there in the real

   7    world again and, therefore, I want to collect from you,"

   8    because you can't, because of --

   9                MR. FELDMAN:      That's correct, Your Honor.

  10                THE COURT:     -- the discharge.         Okay.

  11                MR. FELDMAN:      And if we want to wait for that, then we

  12    should all go home and come back in ten years.                 But that's not

  13    how bankruptcy works.         But that hypothetical creditor is not

  14    giving up its rights.         Now --

  15                THE COURT:     Okay.

  16                MR. FELDMAN:      -- the insurer has its defenses --

  17                THE COURT:     No, I understand.

  18                MR. FELDMAN:      -- to made-whole, and they have their

  19    rights to made-whole, and that's --

  20                THE COURT:     So why --

  21                MR. FELDMAN:      -- not going to be heard in this court.

  22                THE COURT:     So why does this scenario -- let's -- we

  23    have the person who chooses the 100,000, and he or she is gone.

  24    We have the person who waits for years and gets his million

  25    dollars.     He's gone.     Now we have the person who waits and gets

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   1    his judgment for a million, but there isn't a million to pay

   2    him.     Has the law -- the Ninth Circuit been violated if I

   3    approve this RSA to set the stage to make that situation

   4    happen?

   5                MR. FELDMAN:      Absolutely not.        And --

   6                THE COURT:     Okay.

   7                MR. FELDMAN:      -- before we get to why the law of the

   8    Ninth Circuit hasn't been violated, I want to remind Your Honor

   9    that when you ruled on estimation and authorized people to go

  10    forward with estimation, you yourself made statements from the

  11    bench about that's the way bankruptcy works.

  12                THE COURT:     Well, I know.

  13                MR. FELDMAN:      That is what it is.

  14                THE COURT:     That's what I thought.          But I want to --

  15    but I'm reading these briefs --

  16                MR. FELDMAN:      That --

  17                THE COURT:     -- that act like something else might

  18    happen.

  19                MR. FELDMAN:      So --

  20                THE COURT:     So I -- that's the way I understood it to

  21    work.

  22                MR. FELDMAN:      Yes.     And you understood it correctly.

  23                So let's go through some of the cases that were cited

  24    yesterday by Mr. Julian in his pleading; I forget if it was

  25    yesterday or the day before, but recently.                Whatever day it

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   1    was.

   2                THE COURT:     Time stops.       It's all together.        We got

   3    it.

   4                MR. FELDMAN:      Yeah.

   5                THE COURT:     So, three Ninth Circuit cases.

   6                MR. FELDMAN:      So he cites to Underhill that held that

   7    Bankruptcy Code Section 524(e) lacks jurisdiction to approve a

   8    plan that contains a release between two nondebtor parties.

   9    And in that circumstance, that is a release where there is no

  10    consent being given.        In my hypothetical where the person

  11    thinks 100,000 dollars is a pretty good deal, "Let me take the

  12    check," they are consenting to giving up their made-whole

  13    rights by taking that check, and we are releasing them --

  14                THE COURT:     And there's not a whole lot of --

  15                MR. FELDMAN:      -- as well.

  16                THE COURT:     -- case law on that, I believe.             There's a

  17    case --

  18                MR. FELDMAN:      Not a lot of case law, but --

  19                THE COURT:     Judge Klein has a decision from

  20    Sacramento.

  21                MR. FELDMAN:      Not a lot of case law but, if you don't

  22    want -- if you don't want to give up your made-whole rights,

  23    you have a path, and that is -- that is what is important in

  24    the Ninth Circuit.        And Underhill does not address that, Your

  25    Honor.

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   1                In Union Carbide -- which -- actually, the provision

   2    of the Bankruptcy Code cited by the court in Union Carbide has

   3    been changed --

   4                THE COURT:     Right.

   5                MR. FELDMAN:      -- and so its precedent was sort of

   6    thrown out by the Seventh Circuit.             But even if we want to --

   7    even if we want to pretend that Union Carbide matters, again,

   8    it is a compelled release; it is not a voluntary release.                     If

   9    you disagree with my statement that by accepting the check you

  10    are voluntarily releasing your made-whole, then I think what

  11    Mr. Julian's saying has traction.             I just don't think that is

  12    in fact how the law works.

  13                THE COURT:     So in my response to -- in my so-called

  14    musings about your chart here, I said hard choices are still

  15    choices.     Is that true?

  16                MR. FELDMAN:      That is --

  17                THE COURT:     Why isn't this a compelled release?                Why

  18    isn't it a compelled release, practically speaking?                   The

  19    victims have gone through nightmarish -- and now they're told,

  20    well, you're going to have to release the insurance company if

  21    you want your 100,000 dollars.

  22                MR. FELDMAN:      It's not a compelled release, because we

  23    have to go back to where you started, Your Honor, which is, if

  24    you are allowed to estimate claims, then it can't be deemed to

  25    be a compelled release.         It can't be that you can both satisfy

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   1    AB 1054, treat the company as solvent, pay the bondholders in

   2    full, including potentially post-petition interest and make-

   3    whole, not made-whole, pay the -- purportedly pay the TCC's

   4    clients in full, and then say, "Oh, by the way, the other

   5    impaired class, the subrogation" -- "holders of subrogation

   6    claims, you can wait for the next five years to see whether or

   7    not you've been paid in full, because either people will come

   8    after you or they won't come after you, because I think you're

   9    compelling them to release made-whole."               That's not how

  10    bankruptcy works.       That's not how estimation works.              No, by the

  11    way, that's not how it works outside of bankruptcy either.

  12                This idea that if you take what you're entitled to

  13    under the matrix, you are being paid in full, exists in these

  14    cases all the time.        There's nothing unusual about it, except

  15    we have a --

  16                THE COURT:     Well, it exists in the --

  17                MR. FELDMAN:      -- bankruptcy judge --

  18                THE COURT:     -- real world, in the marketplace too,

  19    right?

  20                MR. FELDMAN:      It's the way -- it's the way it works.

  21                THE COURT:     If you take your broken machine back to

  22    Amazon, you get what you paid; you don't get your lost profits.

  23                MR. FELDMAN:      Correct.

  24                THE COURT:     Right?      Okay.

  25                MR. FELDMAN:      Correct.      And so I think, when you look

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   1    at the case law that's been cited by the TCC for the idea that

   2    we've done something improper, I think in all of those

   3    circumstances it's just fundamentally different.                     Those cases

   4    involved -- those cases involved nonconsensual third-party

   5    releases.

   6                I would point out, Your Honor, also, and I don't

   7    think -- I think this -- I think what we're talking about right

   8    now is relevant for the RSA approval.               But I would point out,

   9    that first release that we talk about, that plan release --

  10                THE COURT:      Um-hum.

  11                MR. FELDMAN:       -- where you have to opt out, that's

  12    really something for the Court to consider in conjunction with

  13    confirmation.        You're going to look at that release and decide

  14    whether that is, in fact, as Mr. Karotkin said, an ordinary

  15    plan release or not --

  16                THE COURT:      Well, I --

  17                MR. FELDMAN:       -- that you can opt into --

  18                THE COURT:      -- I already gave you a clue --

  19                MR. FELDMAN:       -- or not opt into.

  20                THE COURT:      -- on that:       we got go have a careful

  21    disclosure and proper notice and no tricks.

  22                MR. FELDMAN:       Agreed.

  23                THE COURT:      Okay.

  24                MR. FELDMAN:       And the fact that it's an opt-in should

  25    give the Court a lot of comfort --

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   1                THE COURT:     Well, it's a good start.

   2                MR. FELDMAN:      -- as well.        It is a good start.

   3                If Your Honor has more questions on what Mr. Julian

   4    filed, I will confess, I don't fully understand the affidavit

   5    or the declaration either.             But what I would point out is, what

   6    the declaration demonstrates, to me, is that there are both

   7    insured individual plaintiff creditors and uninsured individual

   8    plaintiff creditors.        The idea that that doesn't total twenty

   9    billion dollars is really of no moment.                If you look at the

  10    proofs of claim that have been filed in the case -- and we're

  11    happy to produce a schedule of those proofs of claim, and I

  12    think the Court can take --

  13                THE COURT:     And listen --

  14                MR. FELDMAN:      -- judicial notice of it.

  15                THE COURT:     -- I read what Mr. Kasolas filed

  16    yesterday.     I mean, there's so much claim activity going on.

  17    Here it's December 4th; we've got twenty-seven more days, and

  18    there're going to be a lot more claims, perhaps.

  19                MR. FELDMAN:      Lot more claims.

  20                THE COURT:     Yeah, so --

  21                MR. FELDMAN:      And it's unrefuted that we have paid out

  22    actually almost sixteen billion dollars now to victims and have

  23    reserves and IBNR totaling in excess of twenty billion.

  24                And Your Honor asked what has changed.               I think this

  25    is a really critical piece of this.               And you talked a little

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   1    bit about playing chicken.             I think this is another critical

   2    piece of this.       Since we signed -- since we agreed to this deal

   3    in August -- and I don't remember, as I stand here, whether we

   4    signed it in August or September, but the motion was filed in

   5    early September -- the deal has just gotten better for the

   6    company and worse for the subrogation claims.                  And let me

   7    explain a couple --

   8                THE COURT:     Well, you haven't --

   9                MR. FELDMAN:      -- reasons why.

  10                THE COURT:     -- bailed out yet, have you?

  11                MR. FELDMAN:      We haven't bailed out, but I want to --

  12                THE COURT:     Okay.

  13                MR. FELDMAN:      -- explain why --

  14                THE COURT:     Okay.

  15                MR. FELDMAN:      -- we are sort of at the end of the

  16    road.     And again, I'm not playing chicken with Your Honor

  17    either.    If you tell me you need more time than Friday to issue

  18    a decision, you're not going to have a problem with me.                    But if

  19    you decide to park this to the end of the case --

  20                THE COURT:     Yeah, I don't intend to do that.

  21                MR. FELDMAN:      -- I think that's going to be an issue.

  22                The reason I say that it has gotten better is things

  23    like what Mr. Karotkin said that Judge Donato said, where he's

  24    going to take a very conservative approach -- the Tubbs

  25    trial -- we are on the precipice of the Tubbs trial --

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   1                THE COURT:     I know.

   2                MR. FELDMAN:      -- which I think is scheduled for

   3    January 7 --

   4                THE COURT:     It's -- January 7th.

   5                MR. FELDMAN:      -- or something like that.

   6                THE COURT:     See what happened to the trial judge,

   7    though; trial judge gets appointed to the Court of Appeal.

   8                MR. FELDMAN:      Right.

   9                THE COURT:     You know, maybe they'll do that here.

  10         (Laughter.)

  11                MR. FELDMAN:      I think it'd be the Ninth Circuit for

  12    you, Your Honor, so -- I don't think you want the Court of

  13    Appeals.

  14                THE COURT:     Take that up with Podus (ph.).

  15                MR. FELDMAN:      I'll leave that to somebody else.

  16                So, between those issues where there is a feeling

  17    among at least my constituents that the opportunity to get a

  18    higher number is better, that is a complication to keeping the

  19    deal at eleven billion dollars.             The inverse-condemnation rule,

  20    which provides for seven-percent pre-judgment interest, which

  21    is not a component to our twenty billion dollars, not to

  22    mention the liability issue related to inverse condemnation,

  23    also means that there is a view among some of my constituents

  24    that we get a better deal pulling out of this settlement and

  25    going and litigating these claims.             So that's why I say this

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   1    deal has gotten better and better for the company.                   And I don't

   2    think we will hold it together long-term.

   3                And there's one other component, Your Honor; I just

   4    want to get this one out.

   5                THE COURT:     You tell Mr. Karotkin that his client just

   6    did better by the adverse -- inverse-condemnation ruling, and

   7    he may not agree with you.

   8                MR. FELDMAN:      Yeah.

   9                THE COURT:     He may not have been surprised, either.

  10                MR. FELDMAN:      There is another component to this, that

  11    we have mentioned before, which is that there is an allocation

  12    agreement among the subrogation -- 110 subrogation insurers.

  13    That allegation (sic) agreement is specific to this deal.                      If

  14    this deal goes away, we're back at the drawing board.

  15                THE COURT:     Okay.

  16                MR. FELDMAN:      And that's an important component,

  17    because we do have a number of insurers who don't have exposure

  18    across twenty-three fires.             We have a number of insurers who

  19    only have Tubbs exposure or only have Camp exposure.                    Getting

  20    them back to a place that works feels very unlikely to me, and

  21    certainly unlikely at eleven --

  22                THE COURT:     Well, I have to decide --

  23                MR. FELDMAN:      -- billion dollars.

  24                THE COURT:     -- whether this is a good deal, not

  25    whether your clients might get second thoughts later on.

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   1    They're in for today, and --

   2                MR. FELDMAN:      Agreed, but I don't --

   3                THE COURT:     -- and it's for right now.

   4                MR. FELDMAN:      -- but I think the complexity of what

   5    we're talking about is a component under the --

   6                THE COURT:     Well --

   7                MR. FELDMAN:      -- fair-and-equitable --

   8                THE COURT:     -- I think I know that, and I think the

   9    fact that this didn't get continued again gave me a signal that

  10    somebody wants to either make this go or go away.                   I want you

  11    to be able to reserve -- you and Mr. Karotkin --

  12                MR. FELDMAN:      I --

  13                THE COURT:     -- to reserve some time --

  14                MR. FELDMAN:      I'm done with my presentation.

  15                THE COURT:     Okay.

  16                MR. FELDMAN:      Unless Your Honor has questions, I'd

  17    like to reserve the --

  18                THE COURT:     No.

  19                MR. FELDMAN:      -- rest of the time in rebuttal.

  20                THE COURT:     No.

  21                Was there anyone else, Mr. Karotkin, lined up on your

  22    side, that wanted to make argument here?               I mean, I'd rather

  23    not take more time, but I'm not going to say no.

  24                MR. KAROTKIN:      No, I don't believe so.

  25                THE COURT:     Okay.       So, Mr. Julian, are you going to

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   1    take off the lead -- take the lead here, or are you going to

   2    share it with --

   3                MR. JULIAN:      Yes, Your Honor.

   4                THE COURT:     What's the plan?

   5                MR. FELDMAN:      I'm sorry, Bob, one --

   6                MR. JULIAN:      Yeah.

   7                THE COURT:     Yeah.

   8                MR. FELDMAN:      Your Honor, we did resolve one objection

   9    of the municipal entities.             I'm supposed to just read something

  10    into the record --

  11                THE COURT:     Okay.

  12                MR. FELDMAN:      -- really quickly.          I apologize.     And

  13    again, I think this is actually consistent with what's in the

  14    RSA, but this was on the chart as number 1 and number 2.                       And

  15    I'm going to read in.         "For the" --

  16                THE COURT:     Oh, on the -- yeah.          Okay.    Go ahead.

  17                MR. FELDMAN:      "For the avoidance of doubt, the RSA's

  18    definition of 'IP Claims' does not include (1) wildfire claims

  19    held by governmental units or (2) public entities' wildfire

  20    claims."     Thank you.

  21                THE COURT:     One of the things I've learned, in this

  22    case, that's new to me is to use the phrase "for the avoidance

  23    of doubt".     I'm going to decide to put that in anything I say

  24    to anybody.     You know, my wife asks me if I want to do the

  25    dishes, I'll say, "For avoidance of doubt".

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   1                Mr. Julian, are you up?

   2                MR. JULIAN:      I am, Your Honor.        Good morning.       For the

   3    record, Robert Julian of Baker Hostetler, for the tort

   4    committee, Your Honor.         And after I present today, Ms. Mitchell

   5    for the governor is going to have less than five minutes --

   6                THE COURT:     Okay.

   7                MR. JULIAN:      -- and then the UCC, less than ten; the

   8    ad hoc committee of bondholders, less than ten.                 And the

   9    Adventist Hospital counsel has about eight minutes.

  10                THE COURT:     Okay.       Fine.   Thank you.

  11                MR. JULIAN:      Your Honor, what -- I would like to help

  12    today and first correct the record and then address four topics

  13    for you, solely on the release.             And the four topics are going

  14    to be -- I want you to learn real-time what's going on in this

  15    case that establishes why resolution of the release dispute is

  16    important, and why it's stopping this case from being

  17    resolved -- like, in my opinion, could be resolved tonight if

  18    you resolve this release the right way -- the whole case,

  19    setting aside the make-whole and interest issues.

  20                The second item I'm going to discuss is how the

  21    resolution trust really should run.              And you've heard everyone

  22    say, we don't know.        And I'm going to explain to you how these

  23    resolution trusts should run and why it's important that it run

  24    a certain way in this case, and how it impacts your decision

  25    today.

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   1                THE COURT:     Well, yeah, that's what you need to do is

   2    tie it into today's --

   3                MR. JULIAN:      Yes.

   4                THE COURT:     -- proceeding, because --

   5                MR. JULIAN:      Absolutely.      The third is I'd like to

   6    discuss the law a little bit, although I understand you've read

   7    my brief and understand how I feel about it.                And the fourth is

   8    I'd like to offer a solution of how the lawyers would have done

   9    this if they had done it the right way and done it

  10    collaboratively rather than just having the insurance company

  11    saying, "Me, me, me.        This is what I want."

  12                So first to correct the record, I'd like to draw your

  13    attention -- I don't suppose you have it in front of you, but I

  14    will read from --

  15                THE COURT:     I have most everything in front of me, but

  16    what do I need?

  17                MR. JULIAN:      This is the -- I didn't understand that

  18    this was going to be an argument today.               So the joint plan of

  19    the TCC and the ad hoc committee --

  20                THE COURT:     Oh.

  21                MR. JULIAN:      -- of senior unsecured noteholders

  22    filed --

  23                THE COURT:     That I do not have in front of me, but

  24    I've reviewed it.

  25                MR. JULIAN:      -- October 17.       It's docket number --

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   1                THE COURT:     No, I know what it is.          I mean -- go ahead

   2    and say what --

   3                MR. JULIAN:      Yeah --

   4                THE COURT:     -- say what it is, but --

   5                MR. JULIAN:      Yeah.     4257.    And on page 24 of the filed

   6    document, Footnotes 5 and 6, the release is explained.                   You've

   7    heard counsel represent to you that, in the TCC plan, the TCC

   8    gives the same release that they're requiring.                 And I'd like to

   9    read you Footnotes 5 and 6 to the release in our plan.                   5 says,

  10    quote, "The exculpation and release provisions of this plan

  11    currently do not apply to the holders of subrogation wildfire

  12    claims or the consenting subrogation creditors, and are to be

  13    determined."     Footnote 6 reads, and I quote, "The exculpation

  14    and release provisions of this plan currently do not apply to

  15    the holders of subrogation wildfire claims or the consenting

  16    subrogation creditors, and are to be determined."

  17                So, Your Honor, it is not true that the TCC and the

  18    bondholders have proposed the same release.                I understand that

  19    in a former draft they may have done that, but then I went to

  20    Mr. Stamer and told him it was illegal under Ninth Circuit law.

  21    And they revised it according to my request.                Way back when,

  22    before this even -- issue even came up, they had to agree to

  23    revise it, before I saw what the subrogation claimants were

  24    trying to do with the debtors in this case.

  25                So for my first topic I'd like to talk about

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   1    resolution of the release.             Your Honor, there're about six or

   2    seven law firms who represent, eh, about sixty, sixty-five

   3    percent of the wildfire claimants of this case, as the claims

   4    are currently filed -- that's our estimate -- and who control

   5    basically, if they all vote the same way -- that's an "if" --

   6    any ability of my firm and the many fine lawyers in here, in

   7    this case, to -- in a mediation pending before Judge Newsome,

   8    to reach a deal or, in voting in this case, to approve a plan,

   9    or, in a settlement agreement, to approve a settlement.

  10                And these lawyers have a problem advising their

  11    clients to -- in advance, to agree that when they settle and

  12    get money from this trust, that they're to give up their claims

  13    to made-whole, before they know whether they're made whole in

  14    the trust.     And I'm going to explain to you why the

  15    representations on how the trust would work don't work that way

  16    and how made-whole will not be determined until the end of the

  17    trust administration.

  18                So that's the problem.           And I -- it's my opinion that

  19    if you were to strike down this one-sided release today, this

  20    case resolves by the end of the week, totally.                  We would have a

  21    consensual plan, is my prediction, in this case.

  22                The second point I'd like to address is the resolution

  23    trust.    Your Honor, we are in a unique type of case here, which

  24    needs a unique type of resolution trust.                And so everyone's

  25    right; it has not been drafted.              So I get to say my view of the

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   1    resolution trust based upon my experience in the world and how

   2    it's fair here, then show you why it's fair.

   3                Look, we've got AB 1054, but AB 1054 cannot with

   4    precision permit you to say everyone is going to be paid in

   5    full no matter what the estimation is.               There's going to be

   6    wide variations in the trust, according to how payments are

   7    made.     We don't even know if Judge Donato is going to say he's

   8    certain, in his estimation, that people'll be paid in full.                   He

   9    may qualify it.       He may give a cushion.          He may do a lot of

  10    things.     I don't want to predict what he's going to do, but I

  11    have a lot of ideas on how I would run the --

  12                THE COURT:     Well, but --

  13                MR. JULIAN:      -- litigation.

  14                THE COURT:     -- but don't you know, just generally,

  15    even in the simplest of all simple cases of estimation, it's

  16    still a guess as to what the outcome should be, based upon all

  17    the factors?

  18                MR. JULIAN:      Yes.      And let me give you a different

  19    scenario.

  20                THE COURT:     And this factor's likelihood of

  21    prevailing, controlling law, facts, et cetera, et cetera, et

  22    cetera.

  23                MR. JULIAN:      Let me give you a different scenario.

  24                THE COURT:     Okay.

  25                MR. JULIAN:      Suppose hypothetically you appointed

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   1    Judge Newsome to be mediator.            Well, actually we know that to

   2    be true now.     And suppose hypothetically that the L.A. Times --

   3                THE COURT:     Don't --

   4                MR. JULIAN:      -- is true

   5                THE COURT:     Don't tell me anything about what's going

   6    on --

   7                MR. JULIAN:      Well --

   8                THE COURT:     -- with them.

   9                MR. JULIAN:      -- suppose we've reached a number.

  10    Suppose we've reached a number --

  11                THE COURT:     Right.

  12                MR. JULIAN:      -- at some point.

  13                THE COURT:     Um-hum.

  14                MR. JULIAN:      You want us to reach a number at some

  15    point.    I want us to reach a number at some point.

  16                THE COURT:     Well, your side already did reach a

  17    number.

  18                MR. JULIAN:      13.5.

  19                THE COURT:     That's right.

  20                MR. JULIAN:      And it may not be payment in full, but it

  21    may be, because there's only 13.5 left in the case --

  22                THE COURT:     Oh, I know.

  23                MR. JULIAN:      -- after they took 11, that that's all

  24    the cash that's left.         By "cash", I mean stock.          Right?

  25    Because if there's a 61-billion-dollar value of this added up,

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   1    the most you can get out of this case for the victims is 13.5.

   2    And if we don't want to blow this thing up with an insolvency,

   3    maybe good lawyers would recommend in a plan that 13.5 is the

   4    number.

   5                THE COURT:     Well, I'm assuming good lawyers on your

   6    side have already recommended that to the --

   7                MR. JULIAN:      That's right.

   8                THE COURT:     -- their clients, and that's why you

   9    haven't withdrawn your plan.            That is --

  10                MR. JULIAN:      So --

  11                THE COURT:     -- your plan.

  12                MR. JULIAN:      So, because we have a lot of victims --

  13    and they're growing week by week now, because people were

  14    impaired and couldn't file their plan -- their claims in time.

  15    We don't know yet how many people we're going to have, and we

  16    don't know the total number of claims --

  17                THE COURT:     No, but I think it was 78,000, or so, this

  18    week; right?

  19                MR. JULIAN:      Well -- I think it's --

  20                THE COURT:     I mean, Mr. Kasolas has filed it and --

  21    filed his papers and -- whatever.             It's in that range.

  22                MR. JULIAN:      It's in that range.

  23                THE COURT:     Okay.

  24                MR. JULIAN:      There's some duplicates in there, but

  25    maybe 73,000 --

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   1                THE COURT:     Okay.

   2                MR. JULIAN:      -- without the duplicates.

   3                So here's the point:         My envision (sic) of this

   4    resolution trust is to have installment payments.                   That's what

   5    they typically do, often in these cases.               That is to say, Your

   6    Honor, you look at the 74,000, 75,000 claims that come in, you

   7    get your experts to figure out how many dollars you think they

   8    are, and then if you're pushing the 13.5 and it's really 14.5,

   9    you pay off everyone either in a matrix, mediation,

  10    arbitration, or a state-court trial -- an arbitration trial or

  11    a state-court trial; you get the dollars as they go through the

  12    resolution trust, and you pay them $0.70 on the dollar, in the

  13    beginning.     And you hold off the capping, thirty percent or

  14    twenty percent or ten percent.            There're installments to

  15    everybody, till the end of the case, because you don't want the

  16    last victim to come into the proceeding --

  17         (Telephonic noise broadcasting over speaker.)

  18                MR. JULIAN:      -- getting his claim resolved in a matrix

  19    or a mediation or an arbitration or a trial, to be left with

  20    only $0.20 on the dollar, because you don't know.

  21                So that's the discussion in this case, among the good

  22    fiduciaries, of how this resolution trust would be run.                   And

  23    you don't know until the end.            And so the lawyers, who have to

  24    recommend things to their clients, would normally run a mass

  25    tort case this way:        you wait till the end of the case and, at

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   1    that time after you get money -- remember, there's claims

   2    coming into the resolution trust, against tree trimmers.                      So

   3    it's not just --

   4                THE COURT:     No, I know that.

   5                MR. JULIAN:      -- the stock and the cash.

   6                THE COURT:     I know that.       I know that.

   7                MR. JULIAN:      So you don't want the victim, early on in

   8    the case, signing a release that admits, as they require, that

   9    he's been made whole, that he's -- because you don't know till

  10    the end of the case whether he's been made whole.                   And that's

  11    even if he takes the money out of the matrix.                 Sure, they could

  12    take the money and go home, but --

  13                By the way, let me stop at this point and say this

  14    about the -- we have not seen the document that says this is a

  15    mutual release.       So far --

  16                THE COURT:     I --

  17                MR. JULIAN:      -- it's a one- --

  18                THE COURT:     I thought I read it in the -- in the

  19    outline.     Anyway, it may not --

  20                MR. JULIAN:      We --

  21                THE COURT:     -- it may not be drafted in the detail --

  22                MR. JULIAN:      We --

  23                THE COURT:     -- that you'd expect.

  24                MR. JULIAN:      We've asked for it.         We haven't seen it.

  25    But that brings up my point.

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   1                THE COURT:      But it --

   2                MR. JULIAN:       Here's how it should run --

   3                THE COURT:      But wasn't that in the chart --in the

   4    revised chart, that that was dealt --

   5                MR. JULIAN:       The words "mutual release" are there.            I

   6    don't know the contours of the mutual release.

   7                THE COURT:      I don't either.        But I took it as they --

   8    what the drafters, Mr. Feldman's side, called "the solution".

   9    So --

  10                MR. JULIAN:       It's -- by the way, I'm going to come to

  11    the solution.        That's my solution, that it's got to be --

  12                THE COURT:      Well, you have a different solution.

  13                MR. JULIAN:       But it's got to be by consent.            It's got

  14    to be truly by consent, because at the end of the case, those

  15    lawyers who do these mass tort cases, they want the release for

  16    Mr. Feldman's client, because they want clean title to the

  17    money they get out of the bankruptcy case.                 So -- but at that

  18    time --

  19                THE COURT:      Well, wait a minute.          Stop there.     What is

  20    "clean title to money"?          There's no indication left, my mind,

  21    that any money that's paid out could be clawed back.                    What

  22    makes you think it could be --

  23                MR. JULIAN:       The insurance company --

  24                THE COURT:      -- clawed back?

  25                MR. JULIAN:       -- has a claim that the victim may have

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   1    been overpaid on his claim --

   2                THE COURT:     And I read it in here to have it -- that's

   3    waived.    Mr. Feldman can confirm it --

   4                MR. JULIAN:      I --

   5                THE COURT:     -- when he speaks.

   6                MR. JULIAN:      We haven't -- again, we haven't seen

   7    that --

   8                THE COURT:     I -- look, I'll accept that these are

   9    complicated documents, and I can't expect you to observe and

  10    memorize every word of it.             But Mr. Feldman can -- when he's up

  11    here for closing, he can make -- clarify that issue.

  12                MR. JULIAN:      I'd appreciate that, Your Honor.

  13                THE COURT:     Okay.

  14                MR. JULIAN:      Again, the devil's in the details of the

  15    scope of that release.

  16                THE COURT:     I know.

  17                MR. JULIAN:      Now, here's what's going to happen if the

  18    victims are forced to give a release during what I would call

  19    the first installment payment rather than the fourth

  20    installment payment.

  21                THE COURT:     Are forced to, or make a hard decision?

  22                MR. JULIAN:      Make a hard decision.

  23                THE COURT:     I -- those are my words that I made up.

  24    Hard decisions are still decisions.

  25                MR. JULIAN:      Yeah.      I'm going to -- and I disagree,

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   1    but I'm going to --

   2                THE COURT:     Okay.

   3                MR. JULIAN:      -- address it as though it's true.               Let's

   4    say that the victim makes the hard decision with his lawyer to

   5    give the release at that point and forego the third

   6    installments; they're not going to do that.                They're not going

   7    to want to know whether or not they've been paid in full,

   8    versus all the other victims.            And so what they're going to do

   9    is they're going to opt to try the cases.               If you try 70,000

  10    cases through arbitration -- that's not big jury trials, Your

  11    Honor; it'd be an arbitration.

  12                THE COURT:     Well, it doesn't matter.

  13                MR. JULIAN:      Streamlined.

  14                THE COURT:     It'll be a -- it'll be a process.             Your

  15    response yesterday says ten to twelve years.

  16                MR. JULIAN:      I'm now going to --

  17                THE COURT:     Okay?

  18                MR. JULIAN:      -- explain that.

  19                THE COURT:     I'll accept that that's your judgment.

  20    I'm not -- you don't even have -- you can explain it or not.

  21    I'm just saying that sounds like a bad option.                 But --

  22                MR. JULIAN:      I'm going to explain that.

  23                THE COURT:     Okay.

  24                MR. JULIAN:      What really -- because we've been talking

  25    about this, right?        I got all these lawyers, sixty law firms,

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   1    in here talking about how they're going to run this trust and

   2    the problems (sic).        I'm being honest with you right now;

   3    what's happening.       And here's what's happening:            Faced with

   4    this obstance (sic) choice -- there're a lot of discussions --

   5    and the possibility that these clients are going to have to do

   6    some sort of litigation -- and when you do that, two things

   7    happen to the resolution trust:             the costs of the

   8    administration, lawyers' fees to defend the trustee, to process

   9    these arbitrations -- not state-court trials -- to process the

  10    arbitrations, to get the final judgment in, so they don't have

  11    to give the release, so that they can find out if they get

  12    money from the tree trimmer, or some other money at the end of

  13    the case, is going to increase the costs of this trust

  14    administration horribly -- I don't have an estimate for you

  15    right now, but I can tell you it's hundreds of millions of

  16    dollars -- and it will prolong the litigation interminably.

  17                They're right; they're right about one thing.                The

  18    resolution trusts are drafted in a way to make the matrix so

  19    appealing that people come into the queue early on and they get

  20    out of the queue and they go home and they have their money.

  21    Here's the problem with that, with your logical point about

  22    choice:    I'll take the woman that I interviewed, that we filed

  23    a declaration on, that got the bar date extended.                   I can't even

  24    get her into the deposition in Judge Donato's case now, because

  25    she's in the hospital.         And we've gone out -- and many victims

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   1    are getting deposed now.          The stories are unbelievable.           They

   2    all have hardship.        They all have hospital problems.

   3                Here's the point:          They are impaired, and they do not

   4    have voluntary choice when they need money for the hospital or

   5    to get into a real home rather than living in -- I can show you

   6    pictures of a trailer with holes in the floor, on a parcel --

   7    this guy was deposed just the other day -- with burnt trees all

   8    around it.

   9                THE COURT:     But I'm going to interrupt you for -- not

  10    because this isn't important but because I think you're talking

  11    to the wrong person.        The kind of argument you're making, and

  12    the kind of proof that you can put on, is why you need Judge

  13    Donato to give you a bigger number rather than a --

  14                MR. JULIAN:      No, Your Honor.

  15                THE COURT:     -- smaller number.         Well, that's where --

  16    you have to explain to me what --

  17                MR. JULIAN:      I'm going to explain to you.            There'll be

  18    pressure --

  19                THE COURT:     -- what I'm supposed to do about it.

  20                MR. JULIAN:      There'll be pressure -- it's up to you.

  21    There'll be pressure on that claimant to ignore his or her

  22    lawyer's advice and to take the money that does not make them

  23    even half-whole, because they need that money so desperately.

  24    And that's not choice.

  25                We are not dealing with a typical creditor in this --

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   1                THE COURT:     But I don't even know, and Mr. Feldman

   2    couldn't tell me, when even that person is going to get any

   3    money.    You can't tell me, none of us in this room can tell me,

   4    what that trust is going to work and look like.                 When does the

   5    first check come out the door?            Not for a long time.

   6                MR. JULIAN:      Precisely, and that's why you --

   7                THE COURT:     Right?

   8                MR. JULIAN:      -- can't evaluate whether this forced

   9    release is --

  10                THE COURT:     Well, I understand, but couldn't I --

  11                MR. JULIAN:      -- is fair.

  12                THE COURT:     But why couldn't I then deal with it as a

  13    confirmation issue --

  14                MR. JULIAN:      You could.      You could.

  15                THE COURT:     -- and let this agreement be in place?

  16    Because --

  17                MR. JULIAN:      No.

  18                THE COURT:     I don't want to cut into your time,

  19    because I want you to take the time; this is important.                   But

  20    you also want me to violate the bird-in-the-hand rule and let

  21    this eleven-billion-dollar bird fly away, and maybe have a

  22    twenty-billion-dollar replacement --

  23                MR. JULIAN:      I would love a line-item veto like you

  24    did with the term of the term sheet, that said -- or the RSA,

  25    that said they couldn't talk to anyone.               You struck that one.

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   1                THE COURT:     Yeah.       I know.   Do you think it works?

   2    Did it make a difference?          I mean, it was a line-item veto, but

   3    they -- it wasn't a veto; it was my reaction and they said,

   4    okay, we'll do it.        But --

   5                MR. JULIAN:      I think you had --

   6                THE COURT:     -- I can't -- but my point is -- and I'm

   7    not faulting Mr. Feldman; he's not playing chicken with me.

   8    But I -- if I decide that you are so right that this agreement

   9    should be disapproved, maybe nothing will change, but maybe

  10    there will be a twenty-billion-dollar or twenty-five-billion-

  11    dollar set of claims instead of eleven.               And that's a huge

  12    consequence to everyone, including perhaps the insolvency

  13    determination.

  14                MR. JULIAN:      Correct.

  15                THE COURT:     And that's not a good thing for anybody --

  16                MR. JULIAN:      No.

  17                THE COURT:     -- right?      So in other words, you're

  18    suggesting to me not-good things for your constituents, but so

  19    far the alternatives seem worse rather than better --

  20                MR. JULIAN:      No, because the alternative --

  21                THE COURT:     -- because -- no, but, Mr. Julian, I have

  22    to say, I don't discredit your fervor here or the way you're

  23    advocating for the causes that you represent, but I can't make

  24    those people get their money sooner.              But it's worse for (sic)

  25    that to say, by disapproving it, I might make it all the worse

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   1    for them.     And so --

   2                MR. JULIAN:      Well --

   3                THE COURT:     You tell me.       Tell me what to do.

   4                MR. JULIAN:      Well, first --

   5                THE COURT:     You had some four points, so --

   6                MR. JULIAN:      I'm going to address --

   7                THE COURT:     And you --

   8                MR. JULIAN:      -- try to address them one at a time.

   9    The first one is, what about the bird in the hand?                   Common

  10    sense should prevail in this case.

  11                THE COURT:     Okay.

  12                MR. JULIAN:      They're at eleven billion.             Think the

  13    first day I was in front of you in this case, I said, look,

  14    it's in the range, the eleven billion.               Even though I agree

  15    with Adventist, they haven't proven it up.                Putting in a

  16    declaration of Homer Parkhill, the Ref A (ph.), saying that

  17    letters were exchanged saying what the claims amount to, and

  18    having Mr. Karotkin today say, trust me, there's twenty

  19    million -- twenty billion on file, when I can't count them up,

  20    twenty billion, is not evidence.

  21                Put that aside.       Eleven -- should be nine billion, but

  22    eleven billion's in the range.            But the problem is they took

  23    the cash -- and you've already addressed that by doing your

  24    subordination-claim-by-claim thing.              I'm happy with that.         But

  25    we're left with this release.            And I'm telling -- I'm shooting

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   1    straight here, Your Honor:             this case is not resolving.          I

   2    can't get lawyers to agree to any plan in this case, or

   3    mediation with Judge Newsome, or anything, because they can't

   4    recommend something that they can't recommend under the law.

   5    And that's the problem.

   6                And the Ninth Circuit has given you cover.                  I disagree

   7    with them that these cases aren't on point.                 Well, sure,

   8    they're not exactly on point, because you don't have -- but

   9    think about what they're saying.              They're saying that the

  10    Court's lack of jurisdiction to approve a plan term that deals

  11    with the releases is outside the Court's jurisdiction.                     Now, if

  12    they wanted to have the release consensual, they could have

  13    done it.     But they're asking you to put your imprimatur on it.

  14    You're forcing this release down our throats.                  Those victims

  15    have no choice at the -- well, I'm going to be more accurate.

  16    Half of those victims probably do have a choice.                     But I'm

  17    telling you, Your Honor, I've interviewed some of these people,

  18    as you know, and some of them don't have a choice.                    They're

  19    going to be so desperate, they might sign that.                  And they won't

  20    be made whole and we won't know it until the end of the trust

  21    resolution.     And that's the problem we have --

  22                THE COURT:     So --

  23                MR. JULIAN:      -- with this.

  24                THE COURT:     -- tell me how to fix it here.               How does

  25    denying this motion do anything but create more chaos, more

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   1    confusion, and, frankly, a step backwards rather than -- some

   2    of us believe maybe a step forward?

   3                MR. JULIAN:      I didn't anticipate that question, but

   4    that's a perfect question.             I have to think about how I can

   5    answer that without revealing what's going on in the mediation.

   6    So if you'll forgive me; let me have thirty seconds here.

   7                THE COURT:     Okay, I will forgive you, but also

   8    remember you're sharing the podium here with your colleagues,

   9    so --

  10                MR. JULIAN:      Yeah.      I'm wrapping up.

  11                I offer -- well --

  12                THE COURT:     I mean, I got to tell you -- and counsel

  13    for the governor might convince me otherwise -- I was

  14    interested to see the public statement, the governor

  15    disapproving what was progress.              And I thought, the last time I

  16    checked, when you settle a major piece of litigation, that's

  17    progress.     Now, the question is --

  18                MR. JULIAN:      And they're in the mediation.             They know

  19    what's going on.

  20                THE COURT:     But I don't -- I'm not in the mediation.

  21    Okay?

  22                MR. JULIAN:      But they are.

  23                THE COURT:     I had one role in the mediation:              is to

  24    appoint the mediator, period.

  25                MR. JULIAN:      Read between the lines.

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   1                THE COURT:     I don't want to know what's happening or

   2    not happening.

   3                MR. JULIAN:      Let me tell you what the solution is.

   4    The solution is a true consensual release where someone -- no

   5    one wordsmiths the Ninth Circuit's decision about consent not

   6    vitiating the problem with jurisdiction to --

   7                THE COURT:     What would it say?

   8                MR. JULIAN:      -- approve a release.

   9                THE COURT:     How would it read?

  10                MR. JULIAN:      That would be a mutual release -- because

  11    I got to tell you, these plaintiffs' lawyers, they want the

  12    release.

  13                THE COURT:     Tell me --

  14                MR. JULIAN:      And it would be at the end of the trust

  15    administration.

  16                THE COURT:     Tell me, as a bankruptcy lawyer, what is

  17    the fix that you think will work?             I don't want you to --

  18                MR. JULIAN:      The plan should --

  19                THE COURT:     -- tell me what the plaintiffs' lawyers

  20    are saying.

  21                MR. JULIAN:      The plan should contain a term that

  22    states that, at the end of trust administration, when the

  23    victim receives his or her final payment, the victim and the

  24    insurers will exchange mutual releases if they think it's in

  25    their best interest to do so.            And what I'm telling you is, it

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   1    is in their best interest to do so, and that will happen in

   2    this case, I am convinced of it.             What was missing from this

   3    case is a collaboration where lawyers get together and

   4    negotiate that mutual release.            Instead, the first draft, as

   5    you know, that came before you was one-sided.                 I still haven't

   6    seen the mutual-release form.            But it should be consensual.

   7                And the Ninth Circuit cases -- in the Ninth Circuit

   8    cases that talk about Union Carbide, which is a Seventh Circuit

   9    case, even though it was an act (ph.) case -- let me just go

  10    through the case law just --

  11                THE COURT:     Well, I mean, look, Underhill v. Royal has

  12    been the seminal Ninth Circuit case.              Lowenschuss and American

  13    Hardwoods -- it's a trilogy.            I know what they are.         I know

  14    what they say.       I also know what Judge Klein's dicta in his

  15    Mount Shasta, or whatever Mount -- whatever case it was -- I

  16    mean, he said you can do it.            I mean --

  17                MR. JULIAN:      And there's one in Las Vegas --

  18                THE COURT:     Yeah.

  19                MR. JULIAN:      -- about it, too.

  20                THE COURT:     I mean, it can be done.           You know it can

  21    be done.

  22                MR. JULIAN:      Well, it's not --

  23                THE COURT:     I mean, look --

  24                MR. JULIAN:      It's not legal.

  25                THE COURT:     -- you're just advocating a way it could

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   1    be done.     So would we be violating the Ninth --

   2                MR. JULIAN:      Because it's consensual.

   3                THE COURT:     Well, that's right, it's consensual.                So

   4    we're --

   5                MR. JULIAN:      By both sides.

   6                THE COURT:     -- we're back to the question of whether

   7    the RSA includes something that is really not consensual.                      And

   8    you're making an argument that it's really not, and the other

   9    side has said, yes, it is.             And that's what I have to think

  10    about.

  11                MR. JULIAN:      And it's -- Your Honor, the reason for

  12    filing the declaration, that apparently no one could follow --

  13                THE COURT:     I didn't say -- I mean, look, it was new

  14    stuff.     I just didn't understand it.            It --

  15                MR. JULIAN:      This is what it -- the only purpose was

  16    this --

  17                THE COURT:     The gentleman is very knowledgeable in an

  18    area that I'm not familiar with.

  19                MR. JULIAN:      The only purpose was this; I asked him to

  20    address one question:         can you figure out how many claims --

  21    subrogation claims are on file and how many victim claims are

  22    on file, and relate them --

  23                THE COURT:     And he said --

  24                MR. JULIAN:      -- so that I --

  25                THE COURT:     And he said, I've got about ten billion

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   1    now, but I'm still doing it --

   2                MR. JULIAN:      Yeah.

   3                THE COURT:     -- I'm still working.

   4                MR. JULIAN:      But his first answer was, I can't tell

   5    from the claims on file, so I have to use the debtors'

   6    summaries from their experts.

   7                THE COURT:     Okay.

   8                MR. JULIAN:      We don't know if they're accurate but, if

   9    they are accurate, it's about 10.5 billion today, and counting.

  10    So --

  11                THE COURT:     And counting.         Right.

  12                MR. JULIAN:      -- my only point is, this issue that

  13    deals with the release involves billions of dollars.

  14                THE COURT:     I know.

  15                MR. JULIAN:      And just as you said with the inverse

  16    case involving billions of dollars, which certified to the

  17    Ninth Circuit, we think this one is so important, it should be

  18    certified too.

  19                THE COURT:     Well, listen, you're -- I don't want to

  20    criticize you, but you're throwing this "certified" thing a

  21    little bit too cavalierly.             I have two options.       As a trial

  22    judge, I can recommend an interlocutory order or a final order

  23    for direct appeal.        And all I do is recommendation.              Somebody

  24    has to then file an appeal; somebody has to ask the Ninth

  25    Circuit to take it.        The Ninth Circuit has to agree to take it.

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   1                Secondly, separately, I have authority, when I issue

   2    an order that isn't final, to put a 54(c) -- 54(b)

   3    certification on it that just turns it into final.

   4                MR. JULIAN:      Oh, don't get me wrong.

   5                THE COURT:     Here -- that's all I do.            In other words,

   6    if I certify something as final and no one files an appeal,

   7    that's -- we're done; it's finished.

   8                MR. JULIAN:      Well, an order --

   9                THE COURT:     It's final and finished.

  10                MR. JULIAN:      An order approving a settlement is a

  11    final order.     I'm not concerned about that.              I just would like

  12    to pass -- bypass Judge Donato and get to the Ninth Circuit,

  13    just because there's a lot --

  14                THE COURT:     Well, it's --

  15                MR. JULIAN:      -- short time.

  16                THE COURT:     -- it might not even be Judge Donato.                But

  17    let's leave that for another day.              I've made a certification in

  18    the FERC case, and the Ninth Circuit took it.                  I've made a

  19    certification in this case and, if someone files an appeal and

  20    someone asks the Ninth Circuit to consider it, they will.                      They

  21    don't just get it from me.             I don't call up the Ninth Circuit

  22    and say, "Would you please take this?"

  23                MR. JULIAN:      I understand.

  24                THE COURT:     Somebody has to do it.           So you're asking

  25    me, if I disapprove -- or, excuse me, if I approve the --

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   1                MR. JULIAN:      Yes, Your Honor.

   2                THE COURT:     -- RSA, to certify for direct appeal.

   3    Okay, I'll think about it, but I haven't -- today you want me

   4    to -- not to approve it.          So --

   5                MR. JULIAN:      Correct.

   6                THE COURT:     You don't want me to certify, then, do

   7    you?

   8                MR. JULIAN:      I would -- no.       I would like you to --

   9                THE COURT:     Okay.

  10                MR. JULIAN:      I would like you to -- well, because I

  11    think the law's so clear.

  12                THE COURT:     Okay.

  13                MR. JULIAN:      People --

  14                THE COURT:     Let's go to your colleagues.             Thank you --

  15                MR. JULIAN:      Yeah.

  16                THE COURT:     -- Mr. Julian.        I appreciate your -- well,

  17    you had one solution.         What's my --

  18                MR. JULIAN:      Well, the solution is --

  19                THE COURT:     The solution is tell Mr. Feldman go back

  20    to the drawing board, get together with the plaintiffs'

  21    lawyers, and come up with a mutual release that will --

  22                MR. JULIAN:      A mutual release that's done at the end

  23    of trust administration, they want to do it, but it's

  24    consensual --

  25                THE COURT:     And what does it mean -- one more thing.

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   1    You're the guy that has to meet with these very capable

   2    plaintiffs' lawyers, who probably don't like being in the

   3    bankruptcy court, but you and I like being here in the

   4    bankruptcy court.       So how do you predict when is the

   5    administration over with?          Is it -- does it violate the rule

   6    against perpetuities?         I mean, when is it going to be over?

   7    When will this event of finality occur?

   8                MR. JULIAN:      I don't have enough data yet on that.

   9                THE COURT:     But it's years and years, right?

  10                MR. JULIAN:      It's years, but the idea is you'd --

  11                THE COURT:     It's years.

  12                MR. JULIAN:      The most needy --

  13                THE COURT:     It's years.

  14                MR. JULIAN:      The most needy get their -- the way I

  15    would do it, the most needy get their economics first, to

  16    rebuild and cut -- and fix the trees.              And they've got other

  17    claims for other things; won't go into them.                And those lag --

  18                THE COURT:     But what I'm --

  19                MR. JULIAN:      -- but they have choices.

  20                THE COURT:     But what I'm getting is I can't -- I can

  21    disapprove it if it doesn't have a mutual release, but you're

  22    suggesting a mutual release that I can't even envision when it

  23    would become operative.         That's --

  24                MR. JULIAN:      Correct.     So you leave it up to the

  25    parties to do.       All I can say is these are capable lawyers;

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   1    they're going to want a mutual release at the end of trust

   2    administration, or in the beginning if someone truly does sign

   3    the settlement agreement or accepts the award, without an

   4    appeal.

   5                THE COURT:     Well, but you're also suggesting that a

   6    number of the lawyers you're working with can't make this

   7    recommendation.       But on the other hand, as much as you don't --

   8    you're sympathetic to the plight of the victims here, it is a

   9    good solution if they get a satisfactory payment.                    And --

  10                MR. JULIAN:      Yes.

  11                THE COURT:     -- again, we're back to the wisdom, or the

  12    lack of wisdom, in Judge Donato and the implication or the

  13    interpretation of AB 1054.             And you're the one that made the

  14    point to me when you were telling me earlier about the Portland

  15    cases and the Dow Corning case, which -- and you have the

  16    experience with the Robins case -- is that if the estimation is

  17    really high, that's how you protect the victims.

  18    Unfortunately, it might doom the reorganization effort.

  19                MR. JULIAN:      Correct.

  20                THE COURT:     And that's the gamble here, isn't it?

  21    So --

  22                MR. JULIAN:      And --

  23                THE COURT:     -- is your 13.5 the right number?              So what

  24    if Donato puts a higher number?              What --

  25                MR. JULIAN:      I --

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   1                THE COURT:     -- happens to your plan?

   2                MR. JULIAN:      I get that question all the time.

   3                THE COURT:     But what's the answer?          What happens?

   4    What happens if Judge Donato says, "You know, I listened to

   5    what the jury said in Tubbs, I look at the experts that Mr.

   6    Julian brought in here, and I pick an estimation number of"

   7    blank, and "blank" is well higher than your plan number.                      Then

   8    what happens?

   9                MR. JULIAN:      We deal with it.

  10                THE COURT:     Yeah, we deal with it.          Okay.     Let's hear

  11    from your colleagues.

  12                MR. JULIAN:      But --

  13                THE COURT:     Thank you, Mr. Julian.

  14                MR. JULIAN:      But --

  15                THE COURT:     I -- listen, I couldn't --

  16                MR. JULIAN:      You have a --

  17                THE COURT:     -- I couldn't agree more.           I'd like this

  18    case to settle, as -- almost as much as you, but I can't --

  19                MR. JULIAN:      This release is --

  20                THE COURT:     -- make the rule --

  21                MR. JULIAN:      -- holding us up.

  22                THE COURT:     I understand your point about that.                And

  23    the lawyers on both sides know what to do.                If they can fix

  24    it -- I can't order them to do it.

  25                MR. JULIAN:      And I would just make one last point; it

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   1    was the first point I ever made to you in the hearing weeks

   2    ago.     You have great legitimate questions; most of them can't

   3    be answered today; they need to be answered in the plan

   4    construct, when you know -- when I know what the estimation is,

   5    when I know how much cash is over here, when I know what's

   6    happening with PE.        There's just too many unknowns to be able

   7    to do --

   8                THE COURT:     I --

   9                MR. JULIAN:      -- what they want to do today.

  10                THE COURT:     I share with you that --

  11                MR. JULIAN:      Thank you, Your Honor.

  12                THE COURT:     -- concern.       Thank you, Mr. Julian.

  13                All right, so, Ms. Mitchell, are you up first?

  14                MS. MITCHELL:      I think I'm up next --

  15                THE COURT:     Good morning.

  16                MS. MITCHELL:      -- Your Honor.

  17                THE COURT:     All right.

  18                MS. MITCHELL:      Nancy Mitchell of O'Melveny & Myers, on

  19    behalf of Governor Gavin Newsom.

  20                THE COURT:     I didn't mean to criticize your client,

  21    but he did seem to be dissing what looked like is progress.

  22    But --

  23                MS. MITCHELL:      Your Honor, everybody quotes my client

  24    regularly, and they have a lot of opinions about him.                   I think

  25    he's fine and very much appreciates the efforts --

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   1                THE COURT:     Does he remind him that he --

   2                MS. MITCHELL:      -- that you're making.

   3                THE COURT:     -- doesn't have an E on the end of his

   4    name like the other --

   5                MS. MITCHELL:      We also have that issue now.            We have a

   6    lot of Newsoms floating around the case.

   7                Your Honor, I will be brief.            And I'm not going to

   8    address the technicalities of the release point; I will leave

   9    that for people much smarter than I am.               But I do think, from

  10    Your Honor's perspective, it may be helpful for you to

  11    understand why the governor expressed his concern about the

  12    fact that the subrogation settlement is, in his view,

  13    premature, in light of the fact that it locks the subrogation

  14    claimants into an equity-sponsored plan, at the expense of any

  15    other alternative, and at a time when we have significant

  16    questions about whether that plan is confirmable.

  17                And, Your Honor, I want --

  18                THE COURT:     But no one says it is confirmable.

  19                MS. MITCHELL:      No, I understand, Your Honor --

  20                THE COURT:     Okay.

  21                MS. MITCHELL:      -- but I want to be clear that this

  22    case is a little different in the sense -- you probably know

  23    that by now -- in that in a normal case, right, you would build

  24    momentum around a settlement, like the subrogation settlement.

  25                THE COURT:     Um-hum.

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   1                MS. MITCHELL:       And I get that.        You sign an RSA, you

   2    have a party on board, everybody else begins to negotiate.

   3    That may happen here.          And I think Judge Newsome is working

   4    hard at that.        But none of that matters in this context if the

   5    plan is not able to comply with the requirements of AB 1054 --

   6                THE COURT:      Right.      I understand.

   7                MS. MITCHELL:       -- because there is simply no feasible

   8    plan.

   9                So from my perspective, what has happened to us -- and

  10    this is --

  11                THE COURT:      What -- excuse me.         What you -- what?       You

  12    say that if I approve the RSA, I say there can be no feasible

  13    plan?

  14                MS. MITCHELL:       No.     If the plan can confirm -- can

  15    comply with AB 1054, it will not be feasible.                  If they can't

  16    get into the wildfire fund, there is no feasible plan here.

  17                THE COURT:      Well, I --

  18                MS. MITCHELL:       The settlement itself --

  19                THE COURT:      -- I agree, if they can't get into the

  20    wildfire --

  21                MS. MITCHELL:       Correct.

  22                THE COURT:      -- fund, then it's a whole new ball game.

  23                MS. MITCHELL:       The settlement itself does not violate

  24    AB 1054.     What the settlement does is lock in twelve -- eleven

  25    billion dollars -- sorry, I was giving Mr. Feldman an extra

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   1    billion    -- eleven billion dollars of cash to the subrogation

   2    claimants, in one plan, which is the equity-sponsored plan.

   3                THE COURT:     Right.

   4                MS. MITCHELL:      There is no competitive process here,

   5    despite Your Honor's best efforts to exclusivity.                   The debtors

   6    have moved through the plan process with one goal, and that is

   7    to get an equity-sponsored plan done.              And it has become clear

   8    in that process that the parties need additional guidance to

   9    understand what the requirements of AB 1054 mean to them in

  10    practical terms.       The CPUC can't do that.          The CPUC has a

  11    public process that they have go through before they can make

  12    final determinations.

  13                So two weeks ago the governor stepped in and shared

  14    with the plan proponents his view of what was necessary to

  15    comply with AB 1054.        And our goal was to help the plan

  16    proponents shape plans of reorganization that are not

  17    predestined to fail, and we are continuing to work with the

  18    plan proponents to do that.

  19                I think, Your Honor, though, that it was clear in

  20    those conversations that some of the parties may have

  21    misunderstood that in developing their plans, compliance with

  22    AB 1054 was not going to be a rubber stamp.                AB 1054 is going

  23    to require that any plan sponsor make significant investments

  24    in infrastructure and that the emerging company be a completely

  25    transformed utility that is safe and can meet the needs of

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   1    California for the future.

   2                And to do that, Your Honor, it is going to have to

   3    have a flexible and sustainable capital structure.                   And I will

   4    tell you that those requirements are a heavy lift for the

   5    debtors and for any plan proponent.

   6                So the debtors are moving forward with an equity plan.

   7    They want to lock up the subro votes.               I get that.      Then we

   8    have an equity-sponsored plan with one party sort of sitting

   9    there.     And the debtors are doing that at a time that we have

  10    told them explicitly that we have serious concerns about

  11    whether that plan does or can be modified to meet the terms of

  12    AB 1054.

  13                THE COURT:      But let me stop you there.

  14                MS. MITCHELL:       Um-hum.

  15                THE COURT:      Don't you therefore believe that even if I

  16    approve this, if the course is fatally flawed, you or somebody

  17    will persuade me of that, and there is another plan that is in

  18    the pipeline.        And if there's one plan that's confirmable and

  19    one that isn't, then there's an easy solution.

  20                Now, maybe you have your own views about the

  21    alternative plan, but my -- I guess what I'm saying is that if

  22    Mr. Karotkin and his client and Mr. Feldman and his clients get

  23    the clear message from the governor's office and anyone else --

  24    CPUC -- pick some other authority -- who says your plan is not

  25    confirmable, and they get the clue --

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   1                MS. MITCHELL:      Oh, I actually think it --

   2                THE COURT:     -- don't you think -- don't you think

   3    they'll fix it?

   4                MS. MITCHELL:      Oh, I don't think so.          I actually --

   5                THE COURT:     Well, then the plan will fail.

   6                MS. MITCHELL:      But let me say what I actually think --

   7                THE COURT:     Okay.

   8                MS. MITCHELL:      -- what they're trying to do.

   9                THE COURT:     Okay.

  10                MS. MITCHELL:      I mean, I don't -- to some extent, I

  11    don't think we should be having this hearing, because I think

  12    we should actually be able to resolve some of these issues, and

  13    I think that there is a limited amount of time that it would

  14    take to address some of these issues.              But I actually think

  15    that's exactly what they want to have happen.

  16                Look, Your Honor, we heard at the beginning of these

  17    cases, AB 1054, they'll extend the date to June.                    I don't --

  18    they'll extend the June date; I don't really care.

  19                THE COURT:     But we don't know.         I --

  20                MS. MITCHELL:      We talked about --

  21                THE COURT:     -- can't -- maybe you know.              I don't know.

  22                MS. MITCHELL:      Well, no.      Well, I probably do know,

  23    because I had to go through it once, and I don't think we're

  24    going through it again.

  25                There have been, at various points, suggestions that

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   1    they were coming to us for money.              The reality is that they

   2    want to lock up the votes, and then they want to say, okay,

   3    State, you have no choice.             Because that's how the equity, in a

   4    case that is not clearly, Your Honor, in my view, a solvent

   5    case, is going to have the maximum leverage.

   6                And this settlement is about leverage.               It is not

   7    about a debtor who is acting as a fiduciary, who understands

   8    that their case and their plan is not confirmable at present,

   9    under AB 1054, and is trying to do the right thing.

  10                THE COURT:     So how do I make a determination that --

  11    on this record -- your plan is not confirmable, therefore your

  12    motion for implementation of a piece of your plan is denied?

  13    How do I do that?

  14                MS. MITCHELL:      Well, Your Honor, I think that in my

  15    view, the debtor couldn't, if they were exercising their

  16    appropriate fiduciary duty, ever have come to you and said that

  17    this settlement makes sense in light of the fact that --

  18                THE COURT:     Well, someone who doesn't like --

  19                MS. MITCHELL:      -- they don't know they have a

  20    confirmable plan.

  21                THE COURT:     -- their fiduciary duty knows how -- knows

  22    the tools in the toolbox to deal with that.

  23                MS. MITCHELL:      I do, Your Honor.          And if --

  24                THE COURT:     No, but listen.         I want to stop you.

  25                You weren't on the -- you weren't around for the first

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   1    case, but you know about the first case.

   2                MS. MITCHELL:      That is correct; I wasn't.

   3                THE COURT:     And in the first case, Mr. Karotkin's

   4    predecessor had this great idea of their plan, and I

   5    disapproved the disclosure statement because I thought the plan

   6    was unconfirmable as a matter of law.              And after the district

   7    court needed to be straightened out, the Ninth Circuit agreed

   8    with me, and we ended up with a consensual plan.

   9                Now, I don't have -- if you have the basis, the legal

  10    basis, to say the RSA should be disapproved because it's based

  11    upon an unconfirmable plan, I don't hear the argument.                   Mr.

  12    Julian's made the argument about the releases, and he's

  13    somewhat persuasive.        I'm not sure I'm going to agree with him

  14    or not.    I have to think about it.

  15                MS. MITCHELL:      Yeah.

  16                THE COURT:     Where do you -- where is the -- where's

  17    your silver bullet that tells Mr. Karotkin:                your plan is DOA

  18    therefore the RSA fails?

  19                MS. MITCHELL:      Well, we've told Mr. Karotkin that his

  20    plan, at present, is DOA.          Not --

  21                THE COURT:     I mean, on -- I mean, on the record --

  22                MS. MITCHELL:      I can't --

  23                THE COURT:     -- that I can act on.

  24                MS. MITCHELL:      -- I can't give you that.

  25                THE COURT:     I can only act on -- I've got an up or

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   1    down on this motion, or the in-between up or down is defer it,

   2    which you heard me talk to Mr. Feldman --

   3                MS. MITCHELL:      I appreciate that, Your Honor.

   4                THE COURT:     -- I'm not going to do that.

   5                MS. MITCHELL:      Well, I understand --

   6                THE COURT:     My job is to make decisions, right or

   7    wrong.    It's not to become "Judge Hamlet" and not make

   8    decisions.

   9                MS. MITCHELL:      I appreciate that, Your Honor.            And I

  10    don't really think you should have been put in this position in

  11    the first place.       That's the parties' choice.

  12                The governor's concern is that that eleven billion

  13    dollars of cash in this settlement is then not available in

  14    order to meet the other requirements of 1054, and that what we

  15    are doing, in an effort to preserve equity value in a company

  16    that may not have it, is driving us into a situation where,

  17    yes, Your Honor, if you had the next two or three years, you

  18    could do a consensual plan.            But we have until June 30th.

  19                THE COURT:     Well --

  20                MS. MITCHELL:      That is our concern.

  21                THE COURT:     -- well, I'm supposed to -- I'm supposed

  22    to assume that Mr. Feldman and his 110 insurance companies

  23    can't read the tea leaves about what is the downside of an

  24    unconfirmed plan or a plan that the judge just said I think if

  25    you -- insolvency ought to trigger something else, which they

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   1    responded.

   2                MS. MITCHELL:      That's correct.

   3                THE COURT:     So it would seem to me that unless

   4    everybody on that side of the room is playing games here --

   5    mind games -- and they can't possibly comply with 1054 and

   6    don't intend to, then I have to give them the benefit of the

   7    doubt --

   8                MS. MITCHELL:      I --

   9                THE COURT:     -- that they're moving towards that goal.

  10                MS. MITCHELL:      So I appreciate that, Your Honor.              And

  11    I actually think Mr. Feldman is doing a good job of locking in

  12    eleven billion dollars for his client.               I don't have an issue

  13    with --

  14                THE COURT:     But Ms. Mitchell --

  15                MS. MITCHELL:      -- with that.        That's his job.

  16                THE COURT:     -- what's going to happen if we come to

  17    the point where that's the killer on confirmation?                  Don't you

  18    think that's the kind of thing that financial institutions like

  19    insurance companies know how to fix?

  20                MS. MITCHELL:      Well, it may be.

  21                THE COURT:     Like turn it into noncash?

  22                MS. MITCHELL:      It --

  23                THE COURT:     And a healthy company might be quite

  24    marketable and worth quite more than real cash, if it's

  25    tradable, marketable securities.

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   1                MS. MITCHELL:      So I agree with you, Your Honor.               But

   2    I'm concerned -- we are concerned about two things.                   And one is

   3    that this plan and the momentum that gets behind this plan is

   4    actually keeping us from being able to fairly evaluate and get

   5    the information necessary to evaluate the alternative plan,

   6    because the debtor is pushing only one plan.                And they are not

   7    providing the information necessary for the other plan.

   8                But the other issue, Your Honor, is this.                This debtor

   9    has limited assets.        And so I appreciate your view that yeah,

  10    we'll get to confirmation and everybody will fix it.                   It's just

  11    not clear they have enough money to fix it.                And that's a case

  12    that gets lost.

  13                THE COURT:     Okay.

  14                MS. MITCHELL:      And look, I appreciate the point that

  15    you're making and I appreciate where Your Honor is.                   The

  16    governor did not feel that he could let this hearing go by

  17    without providing you his perspective.

  18                THE COURT:     And I'm not trying to pin you down or

  19    criticize you or the governor at all.

  20                MS. MITCHELL:      Right.

  21                THE COURT:     It's not my place to do that.             I can joke

  22    about -- I thought it was progress.              You've made an argument --

  23                MS. MITCHELL:      We would disagree.

  24                THE COURT:     -- about how it's not.

  25                I don't know that I have an option but to say yes or

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   1    no on this motion.        I don't have -- it's unlike the last case

   2    where I can say the plan is unconfirmable as a matter of law,

   3    therefore the -- you're dead.            I can't say that about the

   4    debtors' plan, at the moment.

   5                MS. MITCHELL:      So I appreciate that, Your Honor.

   6                THE COURT:     Okay.

   7                MS. MITCHELL:      And in the event that you have to make

   8    that decision today, we would ask you to say no.

   9                THE COURT:     Okay, thanks, Ms. Mitchell.              I appreciate

  10    your time.

  11                All right, creditors' committee?             Mr. Bray?

  12                MR. BRAY:     Good morning, Your Honor.           Gregory Bray,

  13    Milbank, LLP, counsel for the creditors' committee.

  14                Your Honor, when I appeared before you last on this

  15    matter, we expressed our concerns that there were a number of

  16    provisions in the RSA that were really designed to wreak havoc

  17    on, if not destroy, the competitive plan process that the

  18    Court, in fact, ordered.          Our concerns remain.

  19                But I do want to emphasize to the Court, especially

  20    having just heard the comments of the governor, that the

  21    committee believes it's probably more important than ever that

  22    we maintain a level, fair, competitive plan process, because it

  23    is possible, like it or not, the debtors' plan might fail.                    And

  24    it is possible that the TCC ad hoc plan might fail.                   So we

  25    can't have ourselves locked in, at this point, to one

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   1    particular path over another or have an RSA adopted that

   2    essentially tilts the playing field in a way that surcharges or

   3    doesn't make a settlement like this benefit the entire estate.

   4                And I'll get to that in a minute, but I just wanted to

   5    clarify a comment in your tentative, and you've made it several

   6    times.    And if I understood you right, if you were to approve

   7    the RSA -- and we're asking you not to -- but if you do, it's

   8    subject to 1129 in the sense that you're not resolving

   9    confirmation issues created through the RSA, if I understand it

  10    correctly.

  11                THE COURT:     Right.      I mean, it's like a simple case

  12    where a debtor-in-possession says I can settle this piece of

  13    litigation because I think it will facilitate my ability to

  14    confirm my plan.       If it turns out it will destroy any plan

  15    chances, you have to disapprove it.

  16                So as I just said to Ms. Mitchell, nobody has told

  17    me -- Mr. Julian is making a pitch on the third-party releases,

  18    but no one has told me that this plan is fatally -- is fatally

  19    tainted by virtue of the RSA, if approved.

  20                MR. BRAY:     And I understand your point --

  21                THE COURT:     And you're not saying that either, I

  22    guess.

  23                MR. BRAY:     No, I'm not.       But I'm flipping it around

  24    the other way.

  25                THE COURT:     Okay.

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   1                MR. BRAY:     I guess because I'm a pessimist.             Until I

   2    am told by both parties they've waived all material conditions

   3    to confirmation, I have to assume the possibility of failure

   4    and try and keep a process open that maximizes the recovery for

   5    creditors in that event.

   6                THE COURT:     But from my point of view, a big vote for

   7    non-failure is eliminating -- eliminating -- eleven billion --

   8                MR. BRAY:     Well --

   9                THE COURT:     -- twelve, or whatever the number is --

  10                MR. BRAY:     Then let's jump to that.

  11                THE COURT:     -- of claims that are going to fly out --

  12    go away.

  13                MR. BRAY:     Let's test that.

  14                THE COURT:     Well, okay.

  15                MR. BRAY:     Because the way we read the RSA, maybe

  16    you're half eliminating them, but probably not even that.                     Mr.

  17    Karotkin has told you, in no uncertain terms, this is a good

  18    deal.    I think that's probably an understatement.                 And you were

  19    also told it eliminates the need for estimation.

  20                If it's that good a deal, it should be available to

  21    benefit the estate as a whole and not just a particular plan

  22    proponent.     Said another way, the RSA has embedded in it

  23    negative covenants that essentially prohibit the competitive

  24    plan, the TCC ad hoc plan, from using the settlement to pay the

  25    subro claimants.       That doesn't make any sense.

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   1                If it's a good deal and it benefits the estate and

   2    we're trying to do what you just said, which is whittle down

   3    alleged twenty billion dollars down to eleven, how can it be

   4    that that settlement is only available to one plan and not the

   5    other?    And if --

   6                THE COURT:     I'm not following you.          Doesn't the other

   7    plan have the same treatment?

   8                MR. BRAY:     It does.      But the RSA you're being asked to

   9    sign, in section 2, specifically prohibits the subrogation

  10    claimants from accepting that treatment in the plan or from

  11    implementing or taking the settlement in the plan.                  They

  12    actually have to oppose the terms they're settling on.                     They're

  13    contractually obligated to stand before you and object to that

  14    treatment.

  15                And that's what troubles us.           I can show you the

  16    sections, if you'd like, Your Honor.

  17                THE COURT:     Just tell me the section number.

  18                MR. BRAY:     It's section 2(a).         These actually are

  19    affirmative covenants, I misspoke, not negative covenants.

  20    2(a), clause ii, clause iii, and then 2(b).

  21                THE COURT:     Okay, wait one second.

  22                MR. BRAY:     Sure.

  23                THE COURT:     2 -- yeah, well, I mean, I think --

  24                MR. BRAY:     I'm just going to focus you on --

  25                THE COURT:     -- I think --

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   1                MR. BRAY:     -- let's make it simple.           Let's just look

   2    at section 2(b), negative covenants.

   3                THE COURT:     Okay.       Got it.   Negative covenants.          "The

   4    consenting creditors shall not".             What can't they do?

   5                MR. BRAY:     They cannot vote to accept the TCC ad hoc

   6    plan without violating the RSA.

   7                THE COURT:     Oh.

   8                MR. BRAY:     Even it offers the same treatment.

   9                THE COURT:     You're talking in 2 little (i)?

  10                MR. BRAY:     Yes.

  11                THE COURT:     Oh, no, (ii).         Yes, to vote directly or

  12    indirectly, file, propose, support, solicit, assist, or

  13    participate.     Okay.

  14                MR. BRAY:     So that's been our concern all along, Your

  15    Honor.    We don't object, per se, to a settlement at eleven

  16    million dollars.       The number is in the range.            We get that.

  17    But if you're going to approve it, and the goal is to have

  18    peace in the valley, then let's have it be applicable equally

  19    to both plans.       Otherwise, if it's only going to be applicable

  20    to one plan, we're not resolving estimation, because logic

  21    would suggest that we still need to estimate the subro claims

  22    to keep the other plan on an equal footing.

  23                Said another way, if the eleven-billion-dollar

  24    settlement is only for their plan and not for their plan, then

  25    we need to estimate the subro claims for their plan, so that

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   1    they have a number to plug into their disclosure statement and

   2    plan, when they go out to solicit.             And that seems to be,

   3    frankly, ridiculous.

   4                If it's eleven billion dollars, it's eleven billion

   5    dollars.     And let's -- and especially if it's cash.                If it's

   6    eleven billion dollars in cash, where does it matter where the

   7    cash comes from?       It's eleven billion dollars.

   8                THE COURT:     So you're --

   9                MR. BRAY:     I'll find the other sections, Your Honor.

  10                THE COURT:     Well, but I'm looking at little (ii), and

  11    the third line is "or vote".            So leave aside solicitation,

  12    participation, all that other stuff.              You're saying the words

  13    "or vote" --

  14                MR. BRAY:     I'm saying --

  15                THE COURT:     -- "or vote", the subros --

  16                MR. BRAY:     -- they can tell me I'm wrong.             I will

  17    stand back.

  18                This plan -- this RSA prohibits the subrogation

  19    claimants from voting to accept the same eleven billion dollars

  20    in cash that the debtor is offering them in the TCC ad hoc

  21    plan.    I may have cited to you --

  22                THE COURT:     No, I mean --

  23                MR. BRAY:     -- the wrong provision.

  24                THE COURT:     -- I mean, I'm looking at the very same

  25    words.

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   1                MR. BRAY:     I --

   2                THE COURT:     And so that means if the senior

   3    bondholders' plan -- TCC plan is up for a vote, Mr. Feldman's

   4    clients --

   5                MR. BRAY:     Um-hum.

   6                THE COURT:     -- are contractually prohibited from

   7    voting for it.

   8                MR. BRAY:     That's right.

   9                THE COURT:     That doesn't mean it can't be confirmed.

  10                MR. BRAY:     It says --

  11                THE COURT:     It doesn't mean I can't be confirmed, it

  12    means they can't vote it.

  13                MR. BRAY:     Well, how -- if they can term --

  14                THE COURT:     But they just could do nothing.

  15                MR. BRAY:     -- if they can terminate the settlement for

  16    a plan -- the document says:            if you don't confirm the plan --

  17    and "the plan" is defined as the debtors' plan -- we can

  18    terminate the settlement.          If they can terminate the settlement

  19    if you don't confirm the debtors' plan, even if it's the same

  20    treatment -- and this is in the termination provision -- then

  21    we either have to go forward with estimation, so we know what

  22    the number is in the event of termination, or it's twenty

  23    billion dollars; which is effectively a nine-billion-dollar

  24    surcharge, because the Court wants to confirm the creditor

  25    plan.

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   1                And it's even worse.         There's another provision that

   2    says if you determine to not allow the debtors to solicit their

   3    plan -- and I'm not saying that's likely; but let's say there's

   4    a slight chance, for whatever reason, the debtors' plan should

   5    not be solicited -- if you don't allow that plan to be

   6    solicited, the subrogation claimants can terminate the

   7    settlement and assert the twenty-billion-dollar claim.

   8                It's a very conditional settlement, and it's

   9    conditioned one way.        It gives the subrogation claimants a

  10    number of outs, and it locks the debtor in.                And the debtor's

  11    willing to make that bargain -- it's a Faustian bargain --

  12    because they get to freeze out the competing plan from the

  13    benefits of the settlement.

  14                THE COURT:     So if I approve this, presumably Mr.

  15    Feldman will tell Judge Donato next time, by the way, we're not

  16    going to be there for estimation, and he'll have to say, but we

  17    really will be there for estimation for the competing plan.

  18                MR. BRAY:     Yeah.

  19                THE COURT:     That's what you say?

  20                MR. BRAY:     I --

  21                THE COURT:     And we'll see what he says.

  22                MR. BRAY:     Well, I don't know what he's going to --

  23                THE COURT:     Well, we're going to ask him --

  24                MR. BRAY:     Right, but our point --

  25                THE COURT:     -- I'll ask him to clarify.

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   1                MR. BRAY:     -- is if they don't estimate the -- they

   2    should be compelled to estimate.             In other words, they could

   3    say no, I'm not going to estimate it, I'm going to just simply

   4    stand on twenty billion dollars.             But that defeats the whole

   5    purpose.

   6                If you're not going to let the settlement be

   7    applicable to the competing plan, then what choice is there but

   8    for the court to continue to order estimation.                 And if they say

   9    I'm not going to participate in estimation, what does that

  10    mean?    Someone files an objection to their claim and they're

  11    just going to dig in and become intransigent as part of this

  12    process?     That doesn't make any sense.

  13                THE COURT:     Okay, I got you.

  14                MR. BRAY:     Thank you, Your Honor.

  15                THE COURT:     Someone's talking on the microphone.               We

  16    need to get you -- if you're going to talk, don't talk near the

  17    microphone, please.        Ms. --

  18                MS. DUMAS:     I'm so sorry, Your Honor.

  19                THE COURT:     -- Dumas, are you the guilty party there?

  20                MS. DUMAS:     My apologies.

  21                THE COURT:     Well, you can talk all you want, but not

  22    on the microphone.

  23                Okay, good morning.

  24                MR. QURESHI:      Good morning, Your Honor.             For the

  25    record, Abid Qureshi, Akin Gump Strauss --

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   1                THE COURT:     Mr. Qureshi.

   2                MR. QURESHI:      -- Hauer & Feld.

   3                THE COURT:     Good morning; welcome back.

   4                MR. QURESHI:      Thank you.      On behalf of the ad hoc

   5    noteholder committee.

   6                Your Honor, I'm going to confine my comments to the

   7    same issues that Mr. Bray just addressed.               I'm just going to

   8    put a more precise point on a couple of them.

   9                But first let me start with what our plan provides,

  10    because I think that was misstated by Mr. Karotkin.                   Our plan

  11    does not provide for the payment of eleven billion dollars in

  12    cash --

  13                THE COURT:     Yeah, no, I understood that.

  14                MR. QURESHI:      -- to the subrogation.          It provides for

  15    an allowed claim, and the form of consideration -- so an

  16    allowed claim of eleven billion dollars, but the form of

  17    consideration cash versus equity --

  18                THE COURT:     Yeah.

  19                MR. QURESHI:      -- to be determined.

  20                THE COURT:     Yeah.

  21                MR. QURESHI:      But it's not set in the --

  22                THE COURT:     That's how --

  23                MR. QURESHI:      -- plan.

  24                THE COURT:     -- that's how I read it.

  25                MR. QURESHI:      And what we have said repeatedly before

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   1     the Court is that we would like to engage with the subrogation

   2     holders in a negotiation concerning the form of that

   3     consideration, but that is precluded by the RSA.

   4                 THE COURT:     We're getting some static here.          Do we

   5     know where that's coming from?

   6                 It stopped.

   7                 Well, they did take -- they changed a word or two,

   8     then can still negotiate without --

   9                 MR. QURESHI:     And I will get to that, Your Honor --

  10                 THE COURT:     Okay.

  11                 MR. QURESHI:     -- because I think that fix does not

  12     accomplish what I believe --

  13                 THE COURT:     Yeah, I --

  14                 MR. QURESHI:     -- Your Honor intended.

  15                 THE COURT:     I understand.

  16                 MR. QURESHI:     So let me start with what Mr. Bray

  17     talked about, the voting provisions.            And if I could point Your

  18     Honor first to -- in the RSA it is the affirmative covenant.

  19     It's section 2(a) subsection (iii).           And what Your Honor will

  20     see there is a requirement --

  21                 THE COURT:     I'm sorry --

  22                 MR. QURESHI:     -- that --

  23                 THE COURT:    -- say that again.        It's --

  24                 MR. QURESHI:     2(a)(iii).     So it's on page 7 of the

  25     document.

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   1                THE COURT:     Yeah, okay.

   2                MR. QURESHI:      And what you will see there is that the

   3     subros are required to timely vote their RSA against any plan

   4     that does not adopt their settlement.            That is the provision,

   5     Your Honor, that is problematic.

   6                And let me be clear, Your Honor, what we are asking

   7     the Court to do.      We have no trouble with an RSA that requires

   8     the subros to vote in favor of the debtors' plan when the

   9     debtors' plan adopts their settlement.            Of course they can do

  10     that.    That's not an issue.

  11                But, Your Honor, they ought to be affirmatively

  12     obligated to vote in favor of any plan that adopts their

  13     settlement, so that if the alternative plan adopts the same

  14     settlement and says eleven billion on cash --

  15                THE COURT:     What about the same release options -- the

  16     same release provisions?

  17                MR. QURESHI:      The same settlement.

  18                THE COURT:     Same settlement.

  19                MR. QURESHI:      Same settlement.       If the same

  20     settlement --

  21                THE COURT:     Verbatim?

  22                MR. QURESHI:      -- is contained in another plan, or if

  23     the parties agree otherwise, of course -- but if the same

  24     settlement is adopted in another plan, they must be required --

  25     not free to but required -- to vote in favor of that other

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   1     plan.    It can't be the case, Your Honor, that eleven billion

   2     dollars is good enough only if it comes from the debtors but

   3     not if it comes from the creditor plan.             That just doesn't make

   4     sense.

   5                THE COURT:     Well, but again, how do I -- I mean,

   6     again, we have this cash -- at the moment, the debtors' plan

   7     says all cash.      Your plan doesn't say.

   8                MR. QURESHI:      Correct.

   9                THE COURT:     I realize it could be negotiated, but --

  10                MR. QURESHI:      It --

  11                THE COURT:     -- how do you vote for something without

  12     knowing what you're getting?

  13                MR. QURESHI:      Well, what the RSA as we suggested be

  14     modified, Your Honor, would simply provide that if and only if

  15     that settlement -- eleven billion in cash -- is adopted in our

  16     plan, they are obligated to vote in favor of it.                 If it's

  17     not -- if we end up not adopting that settlement, they have no

  18     obligation to vote in favor of our plan.             In that circumstance,

  19     Your Honor, we can of course negotiate with them and see if we

  20     can come to some other resolution that is acceptable to them,

  21     and then it would be a different settlement in our plan.

  22                And alternatively, if we can't reach a resolution,

  23     then I suppose, Your Honor, the issue would be left for

  24     confirmation.       But so I don't think, Your Honor, that the

  25     choice here is limited to Your Honor approving or disapproving

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   1     the RSA.    I think it is well within the Court's jurisdiction to

   2     say look, I will only approve it if --

   3                THE COURT:     No, I know I can do that.

   4                MR. QURESHI:      -- certain modifications are made.

   5                THE COURT:     I mean, I can do that.         Of course.

   6                MR. QURESHI:      Okay.

   7                THE COURT:     But what's the legal theory that you could

   8     articulate that would -- that says that the debtors' -- the

   9     proposal that's on the table --

  10                MR. QURESHI:      Sure.

  11                THE COURT:     -- is legally infirm?

  12                Now, Mr. Julian argues it's legally infirm because of

  13     the releases.       Is there any legal infirmity in what you're

  14     talking about?

  15                MR. QURESHI:      The legal infirmity, quite simply, Your

  16     Honor, is that it's not in the best interests of the estate.

  17     Quite to the contrary.        The debtors -- and Ms. Mitchell said it

  18     perfectly -- they are not acting as fiduciaries here.                They

  19     tout the benefits of this settlement, they talk about what a

  20     terrific job they did getting this great win and taking a

  21     twenty-billion-dollar claim, which they say is the number, and

  22     reducing to eleven billion dollars.           But then they say but only

  23     for us.    And that settlement somehow isn't good enough if it's

  24     in somebody else's plan.

  25                Your Honor, that is not a settlement that is in the

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   1     best interests of the estate.           That is not a debtor that is

   2     acting like a fiduciary.

   3                And, Your Honor, Mr. Karotkin points to a raft of RSAs

   4     in other cases that many law firms in this courtroom have

   5     agreed to on, on both sides.           And we don't dispute that RSAs

   6     with voting provisions like this are quite common and that they

   7     can be, in the right circumstances, a tool to get to consensus.

   8     But not here, Your Honor, because not one of those cases -- not

   9     a single one -- had competing plans.

  10                Of all of those cases but two, the debtor had

  11     exclusivity.        In the two --

  12                THE COURT:      Well, not in the first PG&E case, it

  13     didn't.

  14                MR. QURESHI:       And I'll come back to that one.

  15                THE COURT:      Okay.

  16                MR. QURESHI:       That's a great example.

  17                THE COURT:      But that was hardly the same in terms of

  18     the --

  19                MR. QURESHI:       Right.

  20                THE COURT:      -- the consent.

  21                MR. QURESHI:       So, Your Honor, in the two cases, Exide

  22     and SeraCare, that are cited by the debtors as examples of

  23     these type of voting provisions are okay even when exclusivity

  24     has been terminated, not so.           Because in those cases, although

  25     exclusivity had been terminated, there was no competing plan.

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   1     So there wasn't the concern that we have here, where you have a

   2     settlement that, as Ms. Mitchell said, it's being used as

   3     leverage.

   4                 THE COURT:     So you're saying that when a fiduciary --

   5     and the DIP is a fiduciary -- when the fiduciary proposes a

   6     plan, it can't take a position is contrary to an alternative

   7     plan that has the same -- it can't turn its back on an

   8     alternative plan.        But -- you know --

   9                 MR. QURESHI:      Well, but, Your Honor, it -- eleven

  10     billion dollars is either a favorable settlement for the estate

  11     or it's not.        It just doesn't make sense to say it's only good

  12     for the estate if that eleven billion dollars gets paid in the

  13     context of an equity-sponsored plan, but somehow not if that

  14     eleven billion dollars is coming from a creditor-sponsored

  15     plan.    That just doesn't make sense, Your Honor.

  16                 And in PG&E I, obviously I was not involved in that,

  17     but, Your Honor, my understanding is that what happened there

  18     is that a motion was filed seeking approval of a settlement

  19     along with a support agreement.           That motion was filed shortly

  20     after this Court terminated exclusivity with respect to the

  21     CPUC, as best as we can tell from the docket --

  22                 THE COURT:     Right.

  23                 MR. QURESHI:      -- about a week later.

  24                 THE COURT:     That's what happened.

  25                 MR. QURESHI:      And when it was filed, that motion

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   1     included provisions requiring the senior debt holders to vote

   2     in favor of the debtor's plan and preventing them from meeting

   3     with the CPUC concerning an alternative plan.

   4                What happened?      A hearing was held by this Court and

   5     subsequent to that hearing -- and we don't have a transcript,

   6     Your Honor, so I don't know what happened at the hearing -- but

   7     what I do know is that subsequent to that hearing, a revised

   8     settlement and support agreement was submitted to the Court.

   9                What went away in the revised agreement?              The voting

  10     restrictions that almost every party in the case objected to.

  11     The senior debt holders were permitted to meet and confer with

  12     other parties and to discuss, negotiate, and consider the

  13     alternative plan of reorganization.           And the requirement that

  14     the senior debt holders fully support the debtor plan was also

  15     removed.

  16                So, Your Honor, I think the legal basis here is that

  17     it is simply not, under any circumstances, in the best

  18     interests of these estates, and therefore consistent with any

  19     version of the applicable standard of review under 9019, to

  20     approve that settlement.

  21                And, Your Honor, we talked about leverage and how this

  22     is all about leverage.        Well, I think there's a reason why the

  23     debtors are doing it this way, and it is about their plan.

  24     Your Honor, Baupost has arguably a blocking position, based on

  25     the last 2019 that we saw, in the subrogation group.                And

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   1     they're also a large equity holder of the debtor.                So this is

   2     all about leverage to try to push through the equity-sponsored

   3     plan and get a recovery for old equity.             It is not about the

   4     debtor acting as a fiduciary.

   5                 If they were, we wouldn't even be having this

   6     argument, Your Honor.

   7                 THE COURT:     Okay.

   8                 MR. QURESHI:     Now, Your Honor, if I can briefly turn

   9     to the provision in the RSA concerning negotiations, because I

  10     don't think, Your Honor, that as modified, it addresses the

  11     concern that the Court raised in the tentative ruling.

  12                 THE COURT:     Well, the tentative ruling was just a

  13     knee-jerk reaction to a table.          It wasn't any thoughtful

  14     analysis.    But go ahead, show me --

  15                 MR. QURESHI:     Sure, so --

  16                 THE COURT:    -- where you think it doesn't do the

  17     trick --

  18                 MR. QURESHI:     -- Your Honor --

  19                 THE COURT:    -- in the RSA?

  20                 MR. QURESHI:     -- it's on page -- it's on page 8.

  21                 THE COURT:     8 of the --

  22                 MR. QURESHI:     Of the RSA.

  23                 THE COURT:     Of the RSA, okay.

  24                 MR. QURESHI:     It is section 2(b)(ii).

  25                 THE COURT:     Well, that's the same one where we were a

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   1     moment ago for the --

   2                MR. QURESHI:      It is the same one where we were --

   3                THE COURT:     -- vote.

   4                MR. QURESHI:      -- a moment ago.

   5                THE COURT:     Yeah, okay.

   6                MR. QURESHI:      And how the debtors, in the black-line

   7     that I'm looking at, how they modified it, is they simply

   8     said -- they struck "debtors and the ad hoc subrogation group".

   9                So remember, Your Honor, in the tentative ruling, what

  10     the Court said is the provision requiring the subros and the

  11     debtors to "negotiate together" was inappropriate.

  12                THE COURT:     Right.

  13                MR. QURESHI:      And Your Honor suggested in the

  14     tentative ruling that that provision be struck.                  And the debtor

  15     does, indeed, strike that provision.            But the way they modified

  16     this one, Your Honor, it doesn't make sense; because what it

  17     says is that the ad hoc subrogation group is free to negotiate

  18     with other creditor constituencies or participate in mediation

  19     "to achieve global consensus."

  20                The restriction on their ability to do anything to

  21     propose, suppose, solicit, encourage, or participate in the

  22     formulation of an alternative plan, it remains.                  It's still in

  23     here.

  24                THE COURT:     Well, I'm having a little trouble, because

  25     the document that I'm looking at for the revised one -- are you

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   1     looking at --

   2                MR. QURESHI:      I'm looking at docket --

   3                THE COURT:     -- 4554-1 that was --

   4                MR. QURESHI:      I'm looking at 4921.

   5                THE COURT:     Okay.

   6                MR. QURESHI:      Docket 4921 --

   7                THE COURT:     4921 is the chart.

   8                MR. QURESHI:      And it has attached to it a copy of the

   9     RSA --

  10                THE COURT:     Okay, you know --

  11                MR. QURESHI:      -- itself, which is black-lined.

  12                THE COURT:     -- you know what that's -- okay.

  13     Unfortunately, I didn't get -- I didn't catch up with the

  14     actual RSA.    I mean, I have it somewhere.           But I'm just looking

  15     at the table with the quote, and it says -- it's got that same

  16     little 2(b)(ii) --

  17                MR. QURESHI:      Right.

  18                THE COURT:     -- and that's the one that crosses out

  19     "the debtors and".       But you're saying --

  20                MR. QURESHI:      It doesn't solve the problem, Your

  21     Honor, because even in the black-line version of the RSA,

  22     section 2(b) subsection (iii) continues to contain a

  23     prohibition for the subros to -- I'm sorry, it's subsection

  24     (ii); I misspoke.

  25                THE COURT:     Yeah, (ii).

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   1                MR. QURESHI:      It's 2(b)(ii).

   2                THE COURT:     Yes.

   3                MR. QURESHI:      And it continues to contain a

   4     prohibition on the subros to propose, support, solicit, assist,

   5     encourage, participate in the formulation of any alternative

   6     plan.    That prohibition remains.

   7                What they are permitted by these changes to do is to

   8     negotiate without the debtors -- because they struck "the

   9     debtors" from it -- but to negotiate or participate in

  10     mediation "to achieve global consensus".

  11                THE COURT:     Well, you're not worried about the "to

  12     achieve global consensus"?

  13                MR. QURESHI:      No, that's fine.       It just can't be

  14     restrictive.

  15                THE COURT:     Okay.

  16                MR. QURESHI:      It can't be restrictive.

  17                THE COURT:     All right.      Listen, I need to wrap you up.

  18                MR. QURESHI:      Two last points, Your Honor, and they'll

  19     be very, very quick.

  20                Your Honor struck the provision about requiring them

  21     to negotiate together in the mediation.             Striking that

  22     provision, respectfully Your Honor, is meaningless, if they are

  23     still obligated to vote against any other plan.

  24                THE COURT:     Yeah, no, I --

  25                MR. QURESHI:      So we --

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   1                THE COURT:     -- got it.

   2                MR. QURESHI:      Okay.

   3                THE COURT:     Of course.

   4                MR. QURESHI:      Last point --

   5                THE COURT:     I mean, that was clear.

   6                MR. QURESHI:      Last point, Your Honor.         We agree with

   7     Mr. Bray that if Your Honor were to approve the RSA in its

   8     present form, as submitted, with the obligation of the subros

   9     to vote against any other plan, that their claims must continue

  10     to be estimated, because again, if the debtors' plan falls down

  11     for any reason, and that settlement goes away, there is no

  12     agreement with us, and we need to know for purposes of our plan

  13     what that claim is.       And therefore it must be estimated.

  14                So in closing, Your Honor, this is about leverage.

  15     This is about advantaging one plan over another.                 And this is

  16     not about a fiduciary doing what they should do.                 Thank you,

  17     Your Honor.

  18                THE COURT:     Thank you, Mr. Qureshi.

  19                All right, Ms. Winthrop, are you the closer?

  20                MS. WINTHROP:      Looks like we're batting cleanup, Your

  21     Honor.

  22                THE COURT:     You're the closer.        Good morning.

  23                MS. WINTHROP:      Good morning, Your Honor.           Rebecca

  24     Winthrop of Norton Rose Fulbright, on behalf of Adventist

  25     Health System/West and Feather River Hospital, which was the

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   1     hospital that was burnt down in Paradise.

   2                We have two issues that we'd like to point the Court

   3     to, to consider.      Going back to that infamous release, debtors'

   4     counsel and the subrogation claimants claim that they have

   5     addressed Underhill, because this is a fully consensual

   6     release.

   7                Putting aside the issue of whether Underhill even

   8     permits fully consensual releases, which we would assert it

   9     does not -- but let's assume that that is the state of the

  10     law -- these are not fully consensual.            These are neither

  11     reciprocal nor symmetrical releases, for two reasons.

  12                First of all, it has not fixed the problem for fire

  13     victims with nonsettling insurers.           So if you may recall, we

  14     have no evidence that our carrier is one of the parties in Mr.

  15     Feldman's consortium.        We have asked whether our insurer is

  16     part of the group, and the committee never responded.

  17                And in fact, it readily admits that it doesn't

  18     represent one hundred percent of the insurance companies here.

  19     So we have a situation where we cannot get -- assuming we do

  20     decide to settle, we have a situation where we cannot get the

  21     protections that are promised all the other fire victims with

  22     settling insurers.

  23                THE COURT:     You mean, like a reciprocal?

  24                MS. WINTHROP:      Yeah.

  25                THE COURT:     Well, but I mean --

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   1                 MS. WINTHROP:     It's just simply not reciprocal.

   2                 THE COURT:    -- but the issue of not knowing if

   3     somebody's in the group can't be insurmountable.                 I mean, isn't

   4     there -- isn't there a simple way to determine that?

   5                 MS. WINTHROP:     Your Honor --

   6                 THE COURT:    You can't just simply informally ask, and

   7     if that's no good, formally ask who's not --

   8                 MS. WINTHROP:     Your Honor, we've looked through the

   9     claims register.      They are not listed here.          So if they decide

  10     they don't want to settle and they don't want to be part of

  11     this ad hoc group, doesn't want to limit their subrogation

  12     claims, nothing affords us the benefits that supposedly are

  13     going to be built into --

  14                 THE COURT:    But --

  15                 MS. WINTHROP:     -- the confirmation order.

  16                 THE COURT:    -- but you as an attorney representing

  17     your client can know not to consent to something if you don't

  18     know who is on the other side of the table with you.

  19                 MS. WINTHROP:     Right.    If I -- I can certainly elect

  20     not to settle --

  21                 THE COURT:    Right.

  22                 MS. WINTHROP:     -- and just take this to trial and

  23     litigate.    And that is -- I would assert -- is not a fully

  24     consensual release.

  25                 THE COURT:    No, I understand your point.            But can you

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   1     not, at least, make as a formal request, a -- look, a discovery

   2     request, interrogatory number 1:            Mr. Feldman, is XYZ Company

   3     in your group, yes or no?

   4                If he says yes, that's a good indication, right?                  If

   5     he says no, that's --

   6                MS. WINTHROP:       We could just ask him right now --

   7                THE COURT:      -- that's good --

   8                MS. WINTHROP:       -- Your Honor.

   9                THE COURT:      No, I understand.        Of course you -- and I

  10     don't want -- we don't do it on the record.               I guess I don't

  11     know why you can't ascertain that fact.              But anyway.

  12                MS. WINTHROP:       But let's assume -- because they have

  13     not changed the representations to the Court -- and it's not

  14     just our problem; you've got fifteen percent, as I

  15     understand -- they only have eighty-five percent of the

  16     insurers signed up.        This applies to any fire victim that does

  17     not have a settling insurance carrier.             They will not get the

  18     benefit that is purportedly given, and therefore they are put

  19     in the impermissible situation of facing litigation as the only

  20     way to avoid --

  21                THE COURT:      Well, but see, you're saying it's not a

  22     good choice.        But the point is, if you don't -- if you can't be

  23     told who is at the other side of the table, there's no -- the

  24     choice is obvious.        You don't agree to anything.            So therefore

  25     nothing is binding on you, right?            You're not releasing

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   1     anything.

   2                 MS. WINTHROP:       But that is not the definition of a

   3     consensual -- I would assert that is exactly what Underhill and

   4     its progeny were trying to avoid, is the mandatory release

   5     or --

   6                 THE COURT:    I get --

   7                 MS. WINTHROP:     -- a nonconsensual mandatory release.

   8                 THE COURT:    But what I'm saying is if you,

   9     representing your client, don't know if the insurance company

  10     that you want to bind isn't even there to be bound, how are you

  11     forced to do anything?        You're not forced to do anything.

  12                 You'll vote against the plan, and if the plan is

  13     approved, you're --

  14                 MS. WINTHROP:     Yeah, I mean, but this is the --

  15                 THE COURT:    -- that's not Underhill.

  16                 MS. WINTHROP:     -- issue with the release, not the opt-

  17     in/opt-out.

  18                 THE COURT:    But the point is, you're not releasing

  19     anybody?

  20                 MS. WINTHROP:       Yes, I am, Your Honor.

  21                 THE COURT:    Oh.

  22                 MS. WINTHROP:       I guess this goes back to if I want to

  23     accept a settlement -- so in the case of your hypo, I want to

  24     be that 100,000-dollar -- the person who gets the 100,000

  25     dollars, takes 100,000 dollars, and knows, when he goes home,

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   1     it's done.    But that's not what's going to happen here.

   2                THE COURT:     You don't think that if you get the check

   3     that you will have an agreement by the party who is producing

   4     your share of the check?

   5                Okay, look, I got your point.

   6                MS. WINTHROP:      Okay.

   7                THE COURT:     Maybe that's a flaw.        What's the other

   8     point?

   9                MS. WINTHROP:      The other problem is even the form of

  10     the release which is being proposed is not symmetrical, because

  11     while it does address the issue of gee, this release is only

  12     related to make-whole, they then take it one step further and

  13     they demand that the victims stipulate to payment -- payment

  14     received is payment in full and it fully satisfies the

  15     releaser's losses.

  16                So while the release may restrict the release to just

  17     the issue of make-whole, it then demands that the claimant give

  18     up all other rights.       So if you've got -- so let's put this in

  19     a real-world scenario.        If you've got ongoing disputes with

  20     your insurer over the scope of your insurance policy and you're

  21     figuring, well, if I put a chunk of money I get from the

  22     liquidating trust with a chunk of this together, and if I can

  23     continue fighting together, I can put it all together and I can

  24     be paid in full, this requires us to agree that we have no

  25     further losses.

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   1                So it is possible that someone -- a third party could

   2     then come in and use that admission -- that stipulation -- to

   3     deny it any further rights.         That was well beyond what is

   4     necessary to give the insurance carriers the purported

   5     protection that they demand, which is just that they know they

   6     get to keep your money.        Well, you know, Your Honor, when I

   7     settle, I want to keep my money too.

   8                THE COURT:     I guess I -- Ms. Winthrop, I need you to

   9     help me understand which paragraph doesn't fix it.                I thought

  10     that they acknowledged your reciprocity.             That's why I --

  11                MS. WINTHROP:      No, Your Honor.

  12                THE COURT:     -- was persuaded.        Well, what specific

  13     provision are you --

  14                MS. WINTHROP:      They said --

  15                THE COURT:     -- pointing to?

  16                MS. WINTHROP:      -- they would be willing to talk to us

  17     and remove offending language.          As of today's date, they assert

  18     they've done whatever is necessary.

  19                THE COURT:     Can you tell me which provision is the

  20     offending language on this point?           Because I --

  21                MS. WINTHROP:      Yes, Your Honor.

  22                THE COURT:     -- I can't memorize all of these terms.

  23                MS. WINTHROP:      We have been inundated with paper as

  24     well, Your Honor.

  25                THE COURT:     Okay, so which one?

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   1                MS. WINTHROP:      So the only form of release that we've

   2     got is the release that is on page 144 of 150 in document

   3     number 4554-1.

   4                THE COURT:     Okay, page 154?

   5                MS. WINTHROP:      Yes -- sorry, 144 of 150, document

   6     number 4554-1, that was filed on 11/2.

   7                THE COURT:     Yeah, so that one's already been

   8     superseded.

   9                MS. WINTHROP:      Not that I have seen, Your Honor.

  10                THE COURT:     Okay.    All right.      So there's the release.

  11                MS. WINTHROP:      So in there it has both of the

  12     offending provisions, which state, payment of the claim amount

  13     fully satisfies the releasor's losses resulting or arising from

  14     the wildfire; and that victims must stipulate that payment of

  15     the claim amount -- which is defined as the claim that you

  16     filed in the plan -- which in our case is the full amount of

  17     our damages -- constitutes payment in full.

  18                So if I want to go against those tree trimmers or if I

  19     want to go against my insurance carrier for the rest of the

  20     policy that they owe me, I can't -- or there's an argument that

  21     I have given up my rights.         That is well beyond what is

  22     necessary to protect the insurance carriers.

  23                THE COURT:     Okay.    I mean, I --

  24                MS. WINTHROP:      And that was not required by any of the

  25     other settlements that the Court -- that the carriers provided

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   1     under seal.    So those are -- and I would also assert that is

   2     well beyond what was required in PG&E number one --

   3                THE COURT:     No, it's obviously completely different.

   4                MS. WINTHROP:      Yeah.    In footnote 26.       And in fact,

   5     the Court carved out our exact situation from what is

   6     protected.

   7                Thank you, Your Honor.

   8                THE COURT:     Thank you, Ms. Winthrop.

   9                MS. WINTHROP:      I appreciate your time.

  10                THE COURT:     All right, I'm going to stick with our --

  11                MR. JULIAN:      One point to clarify, Your Honor, if I

  12     may?

  13                THE COURT:     Mr. Julian.

  14                MR. JULIAN:      The press has already picked up yours and

  15     my colloquy, quoting -- or characterizing what I was saying

  16     that the TCC has agreed to a 13.5-billion-dollar claims number

  17     with PG&E debtors.       And I need to clarify that's not true.             If

  18     I said it, I misspoke.

  19                When I was referring to the 13.5 billion dollars that

  20     the TCC have agreed to, I was referring to the 13.5 billion

  21     dollars that the TCC agreed to in the joint plan with the

  22     bondholders --

  23                THE COURT:     Well, that's --

  24                MR. JULIAN:      -- at section 1.9.

  25                THE COURT:     -- that's what I -- that's what I

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   1     understood.

   2                 MR. JULIAN:      That's what you understood, Your Honor?

   3                 THE COURT:     I don't know what the media's reporting.

   4     That's how I understood you to --

   5                 MR. JULIAN:      Okay.

   6                 THE COURT:     -- be referring to that figure.

   7                 MR. JULIAN:      Well, everyone's asked me to clarify it,

   8     and so --

   9                 THE COURT:     Okay, so you clarified it.

  10                 MR. JULIAN:      -- when I referred to the 13.5 it was the

  11     14.5 in the TCC bondholder plan as the best that we can

  12     negotiate at that time.

  13                 THE COURT:     Okay.     Mr. Karotkin and Mr. Feldman, I'm

  14     going to give you fifteen minutes to conclude, and then I'll

  15     let Mr. Stamer do his housekeeping, and then we're going to

  16     call it a day.

  17                 MR. KAROTKIN:      Thank you, Your Honor.         Stephen

  18     Karotkin, Weil, Gotshal & Manges, for the debtors.                 I'll try to

  19     be very brief and not even take up the fifteen minutes.

  20                 First, with respect to Ms. Mitchell's comments, first

  21     the debtors take umbrage at any assertion that they're not

  22     exercising their fiduciary duties.            There's no evidence of that

  23     in the record.        There's no evidence of that in the conduct of

  24     these cases.        And I think that what you said to Ms. Mitchell

  25     was appropriate, that if that's what the governor's office

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   1     feels, they know what the appropriate remedies are.

   2                 I will point out that the debtors have been meeting

   3     with the governor's office and its representatives on a regular

   4     basis to address concerns they've raised with respect to the

   5     debtors' plans.      In fact, there was a meeting yesterday that

   6     was very constructive, and they have been addressing, on an

   7     ongoing basis, information requests that the governor's office

   8     has made.    And that information is being provided on a timely

   9     basis.

  10                 I will also point out that many of the concerns that

  11     Ms. Mitchell is referring to were raised only just last week.

  12     And I think the record needs to be clear about that.

  13                 The debtors are not hell-bent on an equity-sponsored

  14     plan.    What they are hell-bent on is having the best plan, the

  15     financeable plan, that is fair to all of the debtors' economic

  16     stakeholders and will get these debtors out of Chapter 11 on a

  17     timely basis, so they can participate in a go-forward Wildfire

  18     Fund; and that is the singular goal of the debtors and the

  19     board.

  20                 With respect to some of the comments made by Mr. Bray

  21     and Mr. Qureshi, I think as Mr. Qureshi acknowledged, as he

  22     must, the provisions in the RSA that they are complaining about

  23     are customary and typical.         They acknowledge that every RSA

  24     they have been involved with, virtually every one has those

  25     very same provisions.

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   1                Frankly, I don't understand Mr. Qureshi's position or

   2     his statements that they're not done in a competing plan

   3     process or where there's competing plans.             Those provisions are

   4     meaningless unless there are competing plans, so obviously

   5     that's what they address.

   6                If there was no competing-plan situation, those

   7     provisions would be meaningless, or why are they there?

   8                THE COURT:     Well, but come on, that's -- I mean, if

   9     the vast majority of RSAs are without competing plans, the fact

  10     that there's a prohibition on voting for other competing plans

  11     is belt-and-suspenders, but it's of no consequence.

  12                MR. KAROTKIN:      No, but, Your Honor --

  13                THE COURT:     But here --

  14                MR. KAROTKIN:      -- it addresses --

  15                THE COURT:     -- but here we have --

  16                MR. KAROTKIN:      -- the situation where exclusivity

  17     could be terminated.

  18                THE COURT:     I know.     But here it has been terminated

  19     and we have a competing plan.          So the question is for real.

  20                MR. KAROTKIN:      And it's no different.

  21                THE COURT:     Well, to me it is different because of

  22     those two facts.      Exclusivity has been terminated, therefore --

  23     and another plan had been filed.           So what do I do about that?

  24     In other words, why is it good for the estate to have this

  25     provision that only operates for your client and isn't good for

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   1     both sides?

   2                MR. KAROTKIN:      The debtors negotiated a deal with the

   3     subrogation claimants in the context of moving forward with a

   4     plan --

   5                THE COURT:     Right.

   6                MR. KAROTKIN:      -- that they believe is in the best

   7     interests of these estates.         It's not an opportunity for the

   8     subrogations to go out and shop the plan and shop that deal to

   9     other people.       That's not how it works.

  10                THE COURT:     I got you.

  11                MR. KAROTKIN:      And if you look at the case law that

  12     we've cited in our responsive pleadings --

  13                THE COURT:     Nobody is suggesting that the subros --

  14                MR. KAROTKIN:      -- that's what they address.

  15                THE COURT:     -- have been shopping it.          The question is

  16     what is wrong with an exact replica that is put on the table by

  17     another group?       Why should the subrogation group be

  18     contractually prohibited from even voting -- I'm not suggesting

  19     they should go man the -- go to the rally and hold up the sign,

  20     but why can't they just vote for the exact same economic

  21     consequence?

  22                MR. KAROTKIN:      Your Honor, the agreement that we

  23     negotiated with them is in the context of our plan.                They made

  24     a conscious decision that they want to support our plan going

  25     forward.    They've obviously decided that our plan has the best

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   1     chance of moving forward and being confirmed on a timely basis.

   2     And that's the bargain that was struck in the context of these

   3     cases.

   4                THE COURT:     Okay.

   5                MR. KAROTKIN:      And I think, Your Honor, you put it

   6     very clearly.       The choice before the Court is clear:           either

   7     you have the ability to approve this and approve a compromise

   8     of a claim that you yourself have said many times is a

   9     substantial benefit to these estates, or we can go down another

  10     path where the settlement is jettisoned, twenty billion dollars

  11     of claims arise, and in the context of that, we will not

  12     achieve confirmation of these cases by June 30th --

  13                THE COURT:     Well, I understand.        But, Mr. Karotkin,

  14     come on.    In fairness, if this had been a simple motion to

  15     settle with one disputed group to have them reduce a claim from

  16     20 million to -- call it 20,000 dollars to 11,000 dollars --

  17     you can add the millions if you want to or the billions -- in

  18     and of itself -- and I think Mr. Julian or one of the other

  19     lawyers conceded -- by itself, it's in the range of a

  20     compromise.

  21                But this is much more than that.           I rejected the

  22     argument that some had made that is a sub rosa plan, but it

  23     does have a lot of ramifications that go beyond just the 9019

  24     compromise, which gets back to the fair-and-equitable, which

  25     gets back to if it's good for you, why isn't it good for your

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   1     opponent.    That's the question that I have to decide.              That's

   2     all.

   3                 MR. KAROTKIN:     Your Honor, it's a --

   4                 THE COURT:    I know what you want for me to say.

   5                 MR. KAROTKIN:     -- it's a comprehensive, complicated

   6     settlement that involves a lot of terms, a lot of negotiations.

   7     That's what we've agreed to.          That's what's being presented to

   8     the Court.    We think it's in the best interests of the estates.

   9                 With respect to the argument raised that estimation

  10     doesn't go away with respect to these claims, that's not the

  11     case.    Estimation will stop with respect to the subrogation

  12     claims if these --

  13                 THE COURT:    Well, but is that true?

  14                 MR. KAROTKIN:     -- if the settlement is --

  15                 THE COURT:    I mean, look, come on, what if -- what if

  16     all we have to do is go with the TCC plan?             Won't there be an

  17     estimation of the subrogation claims under this --

  18                 MR. KAROTKIN:     Your Honor --

  19                 THE COURT:    -- under this arrangement?

  20                 MR. KAROTKIN:     -- if that hap -- in the unlikely event

  21     that that happens, you can do that in the context of

  22     confirmation, because you don't have the same issues you have

  23     with personal-injury claims.

  24                 THE COURT:    Well, that's probably true.

  25                 MR. KAROTKIN:     Okay?    So you can address it that way.

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   1                THE COURT:     But that doesn't make it -- that doesn't

   2     mean there isn't an awful lot of preparation, a lot --

   3                MR. KAROTKIN:      Your Honor --

   4                THE COURT:     -- of work that has to be done.

   5                MR. KAROTKIN:      -- I'm quite convinced that if we reach

   6     that scenario, and these people have already agreed to an

   7     eleven-billion-dollar claim, I'm quite sure how you're going to

   8     come out on estimation.

   9                THE COURT:     Well, but why aren't you quite sure --

  10     well, never mind.       I've got it.

  11                Mr. Feldman --

  12                MR. KAROTKIN:      Okay, thank you.

  13                THE COURT:     -- you're the closer.         And I'd like you to

  14     talk specifically about Ms. Winthrop's concern about the

  15     release and anything else you want to add.             But has she

  16     misunderstood the latest iteration of the release on page 144

  17     of 150?

  18                MR. FELDMAN:      No, I think Ms. Winthrop's right, and I

  19     think we need to work with her between now and confirmation to

  20     either resolve her issue --

  21                THE COURT:     Well, but I might have to --

  22                MR. FELDMAN:      -- or ask the Court to approve it --

  23                THE COURT:     -- work on it -- I might have to do

  24     something if I'm going to --

  25                MR. FELDMAN:      No, but --

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   1                THE COURT:     -- rule --

   2                MR. FELDMAN:      -- Your Honor, the --

   3                THE COURT:     -- that this is a good deal.

   4                MR. FELDMAN:      I'm sorry, Your Honor.        I apologize

   5     for --

   6                THE COURT:     Well, no, you don't have to --

   7                MR. FELDMAN:      -- talking over you.

   8                THE COURT:     -- apologize.      I'm just saying if you're

   9     going to work with Ms. Winthrop, that's great.              But what do I

  10     do in the meantime?       Do I -- you don't want me just to sit on

  11     this for a while?

  12                MR. FELDMAN:      No, no.    But, Your Honor, remember, the

  13     releases have to be proposed by the company.              You have to

  14     approve the releases in conjunction with confirmation.

  15                Obviously we don't want to propose a release that this

  16     Court can't approve, which is why we have every incentive to

  17     work with Ms. Winthrop, which -- and I don't want to get into

  18     it in public --

  19                THE COURT:     No.

  20                MR. FELDMAN:      -- but she has a somewhat unique

  21     situation as compared to the 70,000 or so other victims who

  22     also need to be resolved as part of this.

  23                THE COURT:     No, I understand.        And but -- and she

  24     represents one client -- a significant one.

  25                MR. FELDMAN:      Significant, though, Your Honor.

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   1                THE COURT:     But if she doesn't know --

   2                MR. FELDMAN:      Yeah.

   3                THE COURT:     -- who the insurer on the other side of

   4     the table is, that's important.          But Mr. Julian certainly made

   5     other arguments about the wisdom of locking this release in

   6     place now.

   7                MR. FELDMAN:      Well, Mr. Julian's arguments, Your

   8     Honor, are really not correct.          First of all, the releases are

   9     mutual; and the language is contained in the RSA itself, Your

  10     Honor, at section 3(a)(iii), where it says "the confirmation

  11     order shall deem each holder of a subrogation claim that is a

  12     beneficiary of a release and waiver of made-whole claims

  13     executed by a holder of an IP claim as set forth ... to have

  14     released such holder of an IP claim from any claim to such

  15     holder's recovery from the debtors on account of such settled

  16     IP claim."

  17                So there is a mutuality.

  18                THE COURT:     So why does --

  19                MR. FELDMAN:      If you are releasing us on --

  20                THE COURT:     -- why does it --

  21                MR. FELDMAN:      -- made-whole, we're releasing you back.

  22                THE COURT:     But why does he think his constituents of

  23     personal-injury lawyers can't agree to this, if that's --

  24                MR. FELDMAN:      I don't --

  25                THE COURT:     -- how that language works?

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   1                MR. FELDMAN:      -- know.     I disagree with the idea put

   2     forward by Mr. Julian that if Your Honor, with the stroke of a

   3     pen, says no to this, that this case will settle.                 In fact, I

   4     am quite confident that we will be here months and months from

   5     now.

   6                THE COURT:     If I thought it would, I might just say no

   7     just to call you on it.

   8                MR. FELDMAN:      So -- exactly.

   9                THE COURT:     But my point is, are you of the view

  10     that -- again, I'm -- let me rephrase this.              You believe that

  11     3(a)(iii) has a presently -- I mean, when it becomes effective

  12     it's an operative mutual release?

  13                MR. FELDMAN:      The language itself has to be in the

  14     confirmation order, but the concept is in the RSA, and it has

  15     to be a mutual release between the insurer and the insured to

  16     the extent the insured is releasing made-whole.                  There's a

  17     mutual release being given by the insurance company, yes.

  18                THE COURT:     Well, okay.      But the many personal-injury

  19     lawyers that Mr. Julian talks to and communicates with

  20     presumably have the same dilemma.           Why would they advise a

  21     client to opt in without knowing what the ramifications are of

  22     that release --

  23                MR. FELDMAN:      Well, the --

  24                THE COURT:     -- of giving up -- you're giving up the

  25     made-whole if you want the money.           If you're in the hospital

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   1     and sick and can't get your life together, but here's 100,000

   2     dollars, but by the way, you have to release something that you

   3     don't know about, what are we --

   4                MR. FELDMAN:      There --

   5                THE COURT:     -- why is that a good thing?

   6                MR. FELDMAN:      There's two answers to that, Your Honor.

   7     And the first is what it is, which is if we were not in Chapter

   8     11 -- and all of the individual plaintiffs' lawyers know this,

   9     and all the subrogation lawyers on our side know this -- this

  10     is exactly how it would work and it has worked in many, many

  11     other wildfire cases.        So let's not pretend that we're

  12     inventing something new just because we're in your courtroom.

  13                But there's a much more important component to this.

  14     What Mr. Julian really is saying -- I'm going to use his 13.5

  15     billion dollars.      I have no idea if he's negotiating a number

  16     with the creditors -- I'm sorry, with the company -- but if Mr.

  17     Julian's claim is for 13.5 billion dollars, and he has it his

  18     way, we are now his insurance company on his client's claims.

  19     It's not 13.5, it's 13.5 plus 11, because if somehow some of

  20     his clients come up short, they just turn around and sue their

  21     insurance companies.

  22                That's not a deal we're going to do at eleven billion

  23     dollars, cash, stock, promissory notes.             That was something we

  24     specifically negotiated for with the company.              It's a critical

  25     component to this 9019, as are all of the various elements.

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   1                So I want to get back to what Mr. Qureshi said in a

   2     moment.    So the idea that this is going to settle in a way that

   3     allows individual plaintiffs to go after their -- they enter

   4     the matrix, they go in for their 100,000 dollars, they get

   5     their 100,000 dollars, but oh, by the way, it turns out I had

   6     more damages than I thought I had, now I want to go sue my

   7     insurance company; that's not going to work.

   8                THE COURT:     That's not going to happen.

   9                MR. FELDMAN:      Yeah, that seems just fundamentally

  10     unfair.    And I said it earlier:        in a case that's solvent,

  11     where everybody is supposed to be paid:             including the bonds,

  12     which is a huge source of payment; including the individual

  13     plaintiffs, who we want to be paid -- we want this company to

  14     be solvent; then the insurance companies should get their

  15     eleven billion dollars, and with the few exceptions of people

  16     who want to go litigate their claims and come back on made-

  17     whole, sure, we understand that's a risk.             But that should be

  18     the -- that should be the boundary of the risk.

  19                In terms of Mr. Qureshi's point about estimation and

  20     why can't we vote, to me, the voting is -- and Mr. Bray's

  21     point -- the voting is a red herring.

  22                Your Honor is going to have two plans in front of you.

  23     Sure, we voted for the company's plan, but you've got an

  24     impaired accepting class in the other plan.              As Mr. Karotkin

  25     said, you're going to wave your pen, and we're going to get the

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   1     same treatment.      That's just seems like a complete red herring.

   2                Whether Mr. Karotkin wants to release us or not

   3     release us from the -- from the lock-up provisions, not

   4     relevant, as long as we can go negotiate and talk with people.

   5     It really is not, Judge.        That's something --

   6                THE COURT:     No, I guess I don't --

   7                MR. FELDMAN:      -- you're going to determine in the

   8     context of competing plans.

   9                THE COURT:     -- I mean, I -- I mean, I guess I'm not

  10     sure I follow you.       So if you -- if I take your literally by

  11     saying you can negotiate, so you go sit down and negotiate with

  12     Mr. Julian.    And one of the things he says is, well, I want you

  13     to vote for our plan --

  14                MR. FELDMAN:      I can't do that.

  15                THE COURT:     -- you can't do that.

  16                MR. FELDMAN:      Correct.

  17                THE COURT:     So why is that a good thing?

  18                MR. FELDMAN:      It may not be a good thing, but it's

  19     also not a bad thing.        He doesn't need -- that plan doesn't

  20     need a vote from the subrogation holders.

  21                THE COURT:     Well, but then it's one of those things

  22     where --

  23                MR. FELDMAN:      If --

  24                THE COURT:     -- sometimes how appearances work too.            I

  25     mean, locking up votes is just sort of -- it doesn't seem

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   1     right.    It doesn't seem democratic, if you will.

   2                MR. FELDMAN:      It's the way you get to deals in Chapter

   3     11, Judge --

   4                THE COURT:     Well, maybe.

   5                MR. FELDMAN:      -- which is why -- which is why there

   6     are RSAs in many, many cases today.           We get what we want; the

   7     company gets what it wants, as a fiduciary.

   8                THE COURT:     Okay.

   9                MR. FELDMAN:      Your Honor, in terms of -- and unless

  10     you have questions, I'm coming --

  11                THE COURT:     No, I don't.

  12                MR. FELDMAN:      -- quickly to the end.

  13                THE COURT:     I don't.

  14                MR. FELDMAN:      In terms of leverage, I just really want

  15     to put that issue to bed.

  16                To date, the ad hoc committee has always moved through

  17     unanimous consent.       We don't have fights going on among one

  18     type of subrogation holder versus another type of subrogation

  19     holder.    And I would point out -- and Your Honor has pointed it

  20     out also -- we are not trying to leverage anybody in this case.

  21     As I said, we have every incentive and every desire for this

  22     company to remain solvent, for the victims to get paid in full,

  23     for us to get paid our eleven billion dollars.

  24                But if -- and this goes really to Ms. Mitchell's

  25     point, and then I will sit down -- if it turns out that the

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   1     company can't meet AB 1054 or is otherwise rendered insolvent

   2     under the governor's views of the company's ability to go

   3     forward, we have the opportunity to be released from the RSA --

   4                THE COURT:     Right.

   5                MR. FELDMAN:      -- and the company has the opportunity

   6     to be released from the RSA.

   7                THE COURT:     Well, I mean, it's all bets are off for

   8     the most part.

   9                MR. FELDMAN:      It's all bets are off.

  10                THE COURT:     Right.

  11                MR. FELDMAN:      Exactly.     So the idea that the governor

  12     may decide something better for the company ought to be the

  13     path they should go down, that'll happen, and we'll exercise

  14     our remedies.

  15                THE COURT:     Okay, thank you, Mr. Feldman.

  16                MR. FELDMAN:      Thank you.

  17                THE COURT:     All right, the stands submitted.            I want

  18     to thank all Counsel for the arguments and putting it all in

  19     one place.    The ball's in my court.         My intention will be to

  20     make a ruling, not to defer a ruling.            I can't promise you how

  21     soon it'll be.      I'm trying to keep the decisions coming out.

  22     So I'll do my best.

  23                With that, I'll ask Mr. Stamer to raise his

  24     housekeeping issues, and then we're going to wrap up the

  25     hearing.

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   1                MR. STAMER:      Your Honor, do you want to take a break

   2     first, or no?

   3                THE COURT:     No.

   4                MR. STAMER:      Okay.

   5                THE COURT:     Because you promised to be brief.

   6                MR. STAMER:      I do promise.

   7                Again, for the record, Mike Stamer from Akin Gump, on

   8     behalf of the ad hoc noteholder committee.

   9                Your Honor, I'm glad that, in fact, I waited, because

  10     I think the comments that you heard from the governor's office,

  11     from my colleague, Abid Qureshi, from Greg Bray at Milbank,

  12     they all develop a theme.         And in fact, believe it or not, I

  13     think some of the comments Mr. Karotkin made are helpful to

  14     understanding the issue I'm going to put before the Court.

  15                So without repeating what was said with respect to the

  16     RSA, we do very firmly believe that the debtors' support and

  17     insistence on the restrictive provisions of the RSA is actually

  18     inconsistent with their fiduciary duty.

  19                THE COURT:     Well, that's the same argument that's been

  20     made.    I mean --

  21                MR. STAMER:      It is.    But it dovetails into what I'm

  22     going to talk to Your Honor about.           And Mr. Karotkin stood up

  23     and said just because you say it doesn't make it so.                There's

  24     no evidence that the debtors are violating their fiduciary

  25     duty, which Your Honor, I strongly disagree with, but, Your

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   1     Honor, maybe I can provide you with some concrete evidence that

   2     the debtors are, in fact, violating their fiduciary duty.                   And

   3     I have a series of correspondence which most of the principal

   4     people in the court have.

   5                I can hand that up to you.          I can talk about it.         I

   6     can hand it up to you afterwards.           Why don't I give you some

   7     background, and then you'll figure out, Your Honor, whether you

   8     want --

   9                MR. KAROTKIN:      Excuse me, Your Honor.         Is this sort of

  10     a motion that Mr. Stamer is making, because --

  11                THE COURT:     I don't know.

  12                MR. KAROTKIN:      -- he's unhappy with some

  13     correspondence I sent him?

  14                THE COURT:     I thought it was housekeeping, so --

  15                MR. KAROTKIN:      I mean, if he --

  16                MR. STAMER:      Your Honor, it is -- it is housekeeping.

  17                MR. KAROTKIN:      -- has some relief he's seeking, he

  18     should proceed by appropriate motion where we can --

  19                THE COURT:     Well, I think he's right.          I mean --

  20                MR. KAROTKIN:      -- respond.

  21                MR. STAMER:      Your Honor, that's classic.

  22                THE COURT:     Well --

  23                MR. STAMER:      Let me get directly to the substance.

  24                THE COURT:     But I'm running the courtroom, he's not.

  25                MR. STAMER:      I understand.

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   1                THE COURT:     What is the substance?

   2                MR. STAMER:      Here's the housekeeping.         Your Honor,

   3     there's a competitive plan process going on right now.

   4                THE COURT:     Correct.

   5                MR. STAMER:      And you heard from the governor's office

   6     that they are actively engaged.          They have leaned in.         And we

   7     believe and I think everyone in the courtroom believes, that

   8     the governor's office is going to express more concrete

   9     preferences -- if I can phrase it that way -- with respect to

  10     which plan is viable, which plan satisfies 1054 and which does

  11     not, and we think that's going to happen within the next two

  12     weeks.

  13                THE COURT:     Okay.

  14                MR. STAMER:      We have been asking Mr. Karotkin for

  15     basic financial information -- this is supposed to be an equal

  16     playing field, competition is good.           We have been asking him

  17     for basic financial information for a while, and we skinnied it

  18     down in a letter that went to him, I believe it was, November

  19     26th.

  20                One page, that's what the request was.                I had a

  21     spirited discussion with Mr. Karotkin during the day, but

  22     ultimately he asked for a list of information; we gave him one

  23     page.

  24                Yesterday -- yesterday I got an email from Mr.

  25     Karotkin, which I can provide you --

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   1                 THE COURT:    Is this a discovery dispute?

   2                 MR. STAMER:     It's not, Your Honor.        It's actually --

   3                 THE COURT:    I mean, what is it?

   4                 MR. STAMER:     -- it's consistent with what Your Honor

   5     said in the ruling with respect to scheduling.              And the email

   6     that Mr. Karotkin sent me was:          let's wait until December 17th,

   7     the status conference, for us to talk about the information you

   8     need.    Okay?

   9                 It's the perfect example of an attempted pocket veto,

  10     because everybody who's been involved in the discussions with

  11     the governor's office, including the governor's staff,

  12     understands that this is the debtors, yet again, putting their

  13     finger on the scale for the benefit of the equity plan, to the

  14     detriment of the estate.        And --

  15                 THE COURT:    What do you -- what do you want me to do?

  16                 MR. STAMER:     Your Honor, I would like you to say,

  17     consistent with what you have ordered previously, that the

  18     debtor should act like a fiduciary.           They should give us the

  19     information that we have requested so that a competitive plan

  20     process can proceed.

  21                 Your Honor, we didn't want to do this.               Of course, Mr.

  22     Karotkin says, is this a motion?           He would like me to file a

  23     motion, and by the time we got a ruling, the judge would have

  24     made its decision and the competitive process would have

  25     suffered.

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   1                THE COURT:     Are you going to -- but are you asking me

   2     to defer my decision on the RSA?

   3                MR. STAMER:      Your Honor, I -- what I --

   4                THE COURT:     I haven't decided what I'm going to do

   5     yet, by the way.

   6                MR. STAMER:      I understand.

   7                THE COURT:     So --

   8                MR. STAMER:      Your Honor, this is -- it's unrelated to

   9     the RSA in many ways.        It's a consistent theme.

  10                What we are asking, Your Honor, is in furtherance of

  11     your prior order or in clarification of your prior orders, that

  12     you order the debtor to comply with the information request

  13     that we've made.

  14                We've also asked -- again, not in the litigation

  15     context -- this is in the competitive plan process --

  16     consistent with the parallel paths and the even playing

  17     field --

  18                THE COURT:     Understood.

  19                MR. STAMER:      -- we would like the debtors to

  20     immediately comply with the information requests we made, and

  21     make Ken Ziman from Lazard and Jim Mesterharm from

  22     AlixPartners, available --

  23                THE COURT:     Mr. Stamer, I --

  24                MR. KAROTKIN:      Yes, sir.

  25                THE COURT:     -- as long as I've been on the bench, I

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   1     think I have had a procedure.          If you are bogged down on

   2     discovery, whether it's more formal as litigators have or more

   3     informal as bankruptcy lawyers do, you make a simple request.

   4     You tee it up.      You give me an opportunity to read what you

   5     have in mind, and the other side a chance to respond, and I'll

   6     respond instantly or quickly -- at a hearing.

   7                But I can't just do this on the fly.            I mean, can you

   8     give me a brief summary or email to my staff as to what you

   9     want, and I'll schedule a hearing, if necessary, in a day or

  10     two, if Mr. Karotkin is opposing it.

  11                MR. STAMER:      Your Honor, we can send your staff an

  12     email with the relevant information this afternoon.

  13                THE COURT:     I mean, look, I followed a rule that I

  14     thought was -- that I expect counsel to cooperate on exchange

  15     of information so as not to get bogged down on formal discovery

  16     motions.

  17                I had another matter recently where I had a stranger

  18     to the practice, and he was citing all these federal rules of

  19     discovery, and I had to remind him, this isn't the way we do it

  20     in the bankruptcy, because we do it quickly -- quickly like in

  21     a day or two or three.        And this guy's citing me thirty days

  22     and formal response to discovery.

  23                Well, guess what?

  24                MR. STAMER:      Your Honor, we had hoped that it wouldn't

  25     come to this.

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   1                THE COURT:     Mr. Karotkin, I will ask you to meet and

   2     confer with your colleague, Mr. Stamer, to see if you can reach

   3     a consensus as to what he wants.           And if you cannot, I'll

   4     authorize him to exchange to my courtroom deputy, and a copy to

   5     you, a formal summary.

   6                Now, listen gentlemen.         A brief summary is not a 37-

   7     page brief with a copy of 150-page interrogatories that you

   8     served.    A brief paragraph or two or three of what is the

   9     issue, and I will have you on a phone conference promptly.

  10                MR. STAMER:      Your Honor, we appreciate that.

  11                THE COURT:     Okay.

  12                MR. STAMER:      We can be -- yes, Your Honor.

  13                We have another discovery --

  14                THE COURT:     Mr. Karotkin --

  15                MR. STAMER:      -- issue which we may or may not need to

  16     take up with Your Honor --

  17                THE COURT:     Okay.

  18                MR. STAMER:      -- related to information we've requested

  19     from the subros, the backup for their claim.              I don't think I

  20     need to spend any time with Your Honor here.

  21                If we can't make progress on that, we'll include that

  22     in the email or there'll be a separate email.

  23                THE COURT:     Yeah.    By the way, for those of you that

  24     are following, I mean, I am not sitting in on Judge Donato's

  25     hearings, but I'd like to see what he does, and I notice that

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   1     he seems to act on these discovery things also quickly, like, I

   2     want that done in two days.         So I can follow the same thing.

   3                So, Mr. Karotkin, you don't have to respond, but I

   4     will invite you to give your colleague what he's looking for,

   5     and if not, I'll deal with it on an expedited basis.

   6                MR. KAROTKIN:      May I just make a couple of comments?

   7                THE COURT:     Quickly, and then we're quitting.

   8                MR. KAROTKIN:      That's fine.

   9                THE COURT:     Yes, sir.

  10                MR. KAROTKIN:      Just so the record's clear, Mr. Stamer

  11     said he's requested basic financial information for a while --

  12     "for a while".      I got a letter from him on November 26th, less

  13     than a week ago, okay.

  14                THE COURT:     That's a while.

  15                MR. KAROTKIN:      That's not a while.        And he says the

  16     debtor should act like a fiduciary and give them whatever they

  17     want.    Okay?

  18                THE COURT:     Come on, I'm not going to --

  19                MR. KAROTKIN:      He's requested --

  20                THE COURT:     -- I'm not going to give you --

  21                MR. KAROTKIN:      -- ten items of proprietary and

  22     confidential information.

  23                THE COURT:     Okay, meet and confer and exchange; and

  24     the matter stands submitted.          I will do my best to get

  25     something out on the RSA question as soon as I can.

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   1                 Thank you, everyone.

   2                 IN UNISON:     Thank you, Your Honor.

   3                 THE COURT:     So, Mr. Karotkin, I'll wait to hear from

   4     you about whether we're going to continue the exit financing,

   5     otherwise I'll see you all -- many of you on the 11th for

   6     the --

   7                 MR. KAROTKIN:      Yes, sir, thank you.

   8                 THE COURT:     -- interest question.

   9             (Whereupon these proceedings were concluded at 12:28 PM)

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   1                             C E R T I F I C A T I O N

   2

   3     I, Clara Rubin, certify that the foregoing transcript is a true

   4     and accurate record of the proceedings.

   5

   6

   7

   8

   9

  10

  11     ________________________________________

  12     /s/ CLARA RUBIN

  13

  14     eScribers

  15     7227 N. 16th Street, Suite #207

  16     Phoenix, AZ 85020

  17

  18     Date:    December 5, 2019

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